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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                       IN THE UNITED STATES DISTRICT COURT                 January 19, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

MAGÇMÂ TECHNOLOGY LLC,                      §
                                            §
                       Plaintiff,           §
                                            §
v.                                          §       CIVIL ACTION NO. H-20-2444
                                            §
PHILLIPS 66, PHILLIPS 66 CO.,               §
and WRB REFINING L.P.,                      §
                                            §
                       Defendants.          §


                            MEMORANDUM OPINION AND ORDER

       This action is brought by plaintiff, Magçmâ Technology LLC

(“Magçmâ”), against defendants, Phillips 66, Phillips 66 Company,

and WRB Refining L.P. (collectively, “Defendants”), under the

Patent Act of the United States, 35 U.S.C. § 101, et seq., for

alleged infringement of four United States Patents for refining

marine       fuel   oil:1    (1)   U.S.   Patent   No.   10,308,884    (“the     ’884

Patent”), entitled “Heavy Marine Fuel Oil Composition,” issued on

June 4, 2019;2 (2) U.S. Patent No. 10,533,141 (“the ’141 Patent”),

entitled “Process and Device for Treating High Sulfur Heavy Marine

Fuel Oil For Use as Feedstock in a Subsequent Refinery Unit,”

issued on January 14, 2020;3 (3) U.S. Patent No. 10,604,709 (“the

’709       Patent”),    entitled     “Multi-Stage    Device   and     Process      for



       1
      Complaint for Patent Infringement (“Plaintiff’s Complaint”),
Docket Entry No. 1.
       2
           Exhibit 1 to Plaintiff’s Complaint, Docket Entry No. 1-1.
       3
           Exhibit 2 to Plaintiff’s Complaint, Docket Entry No. 1-2.
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Production of a Low Sulfur Heavy Marine Fuel Oil from Distressed

Heavy Fuel Oil Materials,” issued on March 31, 2020;4 and (4) U.S.

Patent No. 10,584,287 (“the ’287 Patent”), entitled “Heavy Marine

Fuel Oil Composition,” issued on March 10, 2020.5           Pending before

the court     are   Magçmâ’s   Motion   to   Strike   Certain    Opinions   of

Defendants’ Damages Expert Thomas Britven (“Plaintiff’s Motion to

Strike     Defendants’   Expert   Britven”)    (Docket   Entry    No.   155),

Defendants’ Motion for Partial Summary Judgment of Noninfringement

and Exclusion of Expert Testimony (“Defendants’ MPSJ and Motion to

Exclude”) (Docket Entry No. 158), Magçmâ’s Motion for Partial

Summary Judgment of Infringement and Application of 35 U.S.C. § 295

to Establish a Presumption of Infringement (“Plaintiff’s MPSJ and

Application of 35 U.S.C. § 295”) (Docket Entry No. 161), Magçmâ

Technology LLC’s Corrected Motion to Exclude the Opinions and

Testimony of Defendants’ Expert Edward L. Sughrue II (“Plaintiff’s

Corrected Motion to Exclude Dr. Sughrue”) (Docket Entry No. 163),

Plaintiff’s request to strike the Declaration of Thomas Allen made

in Magçmâ’s Reply Brief in Support of Its Motion for Partial

Summary Judgment of Infringement and Application of 35 U.S.C. § 295

to Establish a Presumption of Infringement (“Plaintiff’s Reply in

Support of MPSJ and Application of 35 U.S.C. § 295”) (Docket Entry

No. 192), and Defendants’ Request for Leave to Supplement its


     4
         Exhibit 3 to Plaintiff’s Complaint, Docket Entry No. 1-3.
     5
         Exhibit 4 to Plaintiff’s Complaint, Docket Entry No. 1-4.

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Response     to   Magçmâ’s    Motion   for    Partial      Summary    Judgment    of

Infringement (“Defendants’ Request to Supplement”) (Docket Entry

No. 198).         For the reasons stated below Defendants’ Request to

Supplement will be denied; the pending motions to strike and/or

exclude      expert    testimony    will     be   denied    without    prejudice,

Defendants’ MPSJ will be denied; Plaintiff’s MPSJ will be granted

in part and denied in part, and Plaintiff’s request for application

of 35 U.S.C. § 295 will be denied.



                      I. Background and Undisputed Facts

A.      Technical Background, Asserted Patents and Claims

        The asserted patents teach a process for making low sulfur

heavy marine fuel oil (“HMFO”) that complies with two industry

standards: (1) ISO 8217:2017 from the International Standards

Organization (“ISO”); and (2) Revised Annex VI to MARPOL (the

International Convention for the Prevention of Pollution from

Ships).      ISO 8217:2017 contains standards for bulk properties of

marine fuels, which are organized into two families: “Distillate

marine fuels” identified in ISO 8217 Table 1 (“Table 1”),6 which

are    not   covered    by   the   claims    of   the   asserted     patents;    and

“Residual marine fuels” identified in ISO 8217 Table 2 (“Table




        6
      ISO 8217, pp. 8-9, Exhibit 5 to Defendants’ MPSJ and Motion
to Exclude, Docket Entry No. 158-5, pp. 16-17.

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2”),7 which are covered by the claims of the asserted patents.

Table 2 sets forth sixteen physical properties for “Residual marine

fuels.”     Revised Annex VI to MARPOL reduced the maximum sulfur

content of marine fuels from 3.5% by weight to 0.5% effective 2020

(“IMO 2020 Sulfur Cap”).           The process taught by the asserted

patents involves hydroprocessing ISO 8217:2017 Table 2 compliant

HMFO that has a sulfur content greater than 0.5%, i.e., the HMFO

being sold before 2020, to reduce the sulfur to less than 0.5% to

comply with the IMO 2020 Sulfur Cap.



B.     Procedural Background

       Magçmâ filed its Complaint for Patent Infringement (Docket

Entry No. 1) on July 13, 2020.           On October 30, 2020, the court

entered a Scheduling Order (Docket Entry No. 23), which set dates

for the close of fact and expert discovery as November 11, 2021,

and December 9, 2021, respectively.

       On July 8, 2021, the court held a hearing pursuant to Markman

v. Westview Instruments, Inc., 116 S. Ct. 1384, 1387 (1996) (Docket

Entry Nos. 45 (minutes) and 47 (transcript)), and on July 28, 2021,

the court issued a Memorandum Opinion and Order (“Markman Order,”

Docket Entry No. 50) holding that the disputed term “HMFO” means

“[a] petroleum product fuel compliant with the ISO 8217:2017



       7
      Id. at 10-11, Exhibit 5 to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 158-5, pp. 18-19.

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standards for bulk properties of residual marine fuels except for

the     concentration          levels    of    the   Environmental     Contaminates.”

Magçmâ Technology LLC v. Phillips 66, No. H-20-2444, 2021 WL

3186532, * 16 (S.D. Tex. July 28, 2021).                    The court also held that

two other        disputed       terms,      i.e.,    (1)   “[having]   a   maximum    [of

kinematic viscosity/of density/carbon residue] . . . between the

range       of   .   .   .,”    and   (2)     “[a]   low   sulfur   hydrocarbon      fuel

composition consisting essentially of: a majority by volume of a

100% hydroprocessed high sulfur residual marine fuel oil and a

minority by volume of Diluent Materials,” needed no construction

because each was subject to its plain and ordinary meaning.                          Id.

        Shortly after issuing the July 28, 2021, Markman Order, the

court issued an Order Granting Joint Motion for Referral for

Mediation (Docket Entry No. 52), which referred the case to Senior

Judge Nancy Atlas for mediation. The parties mediated on September

22, 2021, but did not settle (Docket Entry No. 56).

        On September 22, 2021, Plaintiff filed a motion to compel

seeking production of “physical feed and product samples from

specific locations within the process flow route of the accused

hydrotreaters.”8          Plaintiff acknowledged that Defendants “proposed


        8
      Plaintiff Magçmâ Technology LLC’s Motion to Compel, Docket
Entry No. 54, p. 2. See also id. at 3 (“The issue before this
Court to rule upon is whether to compel Defendants to produce
physical samples of the feeds to and the products from the accused
hydrotreaters at the locations identified in Exhibit A and all
related physical instrumentation (“PI”) and laboratory data for the
                                                    (continued...)

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using data collected from two permanent sample points in the

refineries,” but argued that “the feed sample point and the product

sample point are located in places that would not provide an

accurate picture of the physical properties of the total feed.”9

Defendants responded that they had never opposed “providing samples

of fluids from its custom built sample stations located throughout

its refineries,” but that they did oppose “providing samples from

unsafe locations in the refinery, especially when such samples are

unnecessary to analyze infringement in this case.”10

     On   October   7,   2021,   Magçmâ   served   the   Expert   Report    of

Dr. James G. Speight (“Dr. Speight”).11

     On November 4, 2021, Magistrate Judge Christina A. Bryan held

a hearing and heard argument from the parties on Plaintiff’s Motion




     8
      (...continued)
period of time over which samples are collected.”). Page numbers
for docket entries in the record refer to the pagination inserted
at the top of the page by the court’s electronic filing system,
CM/ECF.
     9
      Id. at 8. See also Magçmâ Technology LLC’s Reply in Support
of Its Motion to Compel Physical Samples (ECF No. 54), Docket Entry
No. 59, pp. 1-4.
     10
      Defendants’ Response in Opposition to Plaintiff’s Motion to
Compel, Docket Entry No. 57, p. 1.
     11
      Magçmâ’s Opposition to Defendants’ Motion for Partial Summary
Judgment and Exclusion of Expert Testimony (ECF 158)(“Plaintiff’s
Opposition to Defendants’ MPSJ and Motion to Exclude”), Docket
Entry No. 174, p. 10. See also Expert Report of Dr. James G.
Speight, Exhibit 12 to Defendants’ MPSJ and Motion to Exclude,
Docket Entry No. 158-12, p. 8.

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to Compel.12       On November 8, 2021, Judge Bryan issued an order that

granted in part and denied in part Plaintiff’s Motion to Compel and

extended the deadline “pertaining to supplemental reports from

November 18, 2021[,] to November 29, 2021[,] so that Magçmâ may

supplement its opening technical expert report and damages expert

report to address discovery produced since the submission of the

respective opening reports.”13

     On November 29, 2021, Magçmâ served Dr. Speight’s Corrected

Infringement Report.14

     On December 30, 2021, the parties filed a Joint Motion for

Extension     of    Time   (Docket   Entry   No.   72)   seeking   a   two   week

extension of the motions and briefing deadlines, which the court

granted (Docket Entry No. 73).

     On January 12, 2022, Magçmâ served Dr. Speight’s Second

Supplemental Infringement Report.15

     On January 13, 2022, the parties filed a second Joint Motion

for Extension of Time (Docket Entry No. 74) seeking an extension of

all pending deadlines to allow the parties to create a set of


     12
      Transcript of November 4, 2021, Motion Hearing, Docket Entry
No. 68.
     13
          Order, Docket Entry No. 67, p. 2.
     14
      See Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, p. 10.
     15
      Id.   See also Second Supplemental Infringement Report of
Dr. James G. Speight, Exhibit 16 to Defendants’ MPSJ, Docket Entry
No. 159-5, p. 7.

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stipulated     facts    related      to    the   processes,    equipment,    and

operational data at issue, stating that “[t]he parties expect the

stipulation and related supplemental production of documents will

narrow disputes between the parties and the experts.”16              On January

14, 2022, the court issued an Order (Docket Entry No. 75) granting

the parties’ joint motion for extension of time as follows:

January 27, 2022             Stipulation/Supplemental Production
February 10, 2022            Supplemental Expert Reports
February 24, 2022            Discovery on Supplemental Reports
March 3, 2022                Rebuttal Expert Reports

     On     January    21,   2022,    Plaintiff     filed     Plaintiff   Magçmâ

Technology LLC’s Motion to Enforce Court’s Order on Motion to

Compel (ECF 67) and Award Sanctions for Defendants’ Noncompliance

(Docket Entry No. 76).         Plaintiff explained that following the

hearing held on its Motion to Compel

     Judge Bryan entered an Order (ECF 67) granting-in-part
     and denying-in-part the motion, and ordering, inter alia,
     that:

                  By November 18, 2021, the parties shall
             meet and confer to negotiate a stipulation
             that identifies and describes Defendant’s DCS
             data    and   laboratory    data,    including
             descriptions, where appropriate, of data tags,
             testing methods, and units of measurement.
             The purpose of the stipulation is to provide a
             common understanding of what the DCS and
             laboratory data represents such that disputes
             about the meaning of the DCS and laboratory


     16
          Joint Motion for Extension of Time, Docket Entry No. 74,
p. 1.

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           data will be avoided and the parties’
           respective experts will be entitled to rely on
           a common understanding of what the Defendants’
           data represents.

     ECF 76 (emphasis added). The hearing transcript reflects
     the mutual understanding at the time that a stipulation
     would be finalized after the parties met and conferred,
     certainly before the supplemental expert report deadline
     on November 29, 2021. This did not happen. In fact,
     Magçmâ’s technical expert was (again) placed in the
     position of providing a supplemental report addressing
     new data, without the benefit of the stipulation.

          Magçmâ has diligently drafted and sent revisions to
     the draft stipulation to Defendants, without the benefit
     of Defendants’ knowledge [of] feeds and products along
     their process flow routes or meaningful input from
     Defendants.   Magçmâ sent the last version of proposed
     revisions to Defendants on December 8, 2021. . . Given
     that the short extension period for the stipulation has
     almost passed, and this entire week has passed without
     Defendants providing their revisions, Magçmâ is forced to
     file this motion and request sanctions.

                                   . . .

          . . . Defendants’ only response to the status of
     Defendants’ revisions to the stipulation was:

           We are still waiting for information from the
           client on both Wood River and Bayway, and so I
           do not expect to send a revised draft today.
           This has taken far longer than expected, but
           we can address any problems created with an
           extension as needed to the schedule.

     . . . Despite having the draft stipulation for over seven
     weeks, Defendants now request even more time and suggest
     another case extension, without any date certain by which
     they will complete their investigation.17




     17
      Plaintiff Magçmâ Technology LLC’s Motion to Enforce Court’s
Order on Motion to Compel (ECF 67) and Award Sanctions for
Defendants’ Noncompliance, Docket Entry No. 76, pp. 5-8.

                                    -9-
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     On February 7, 2022, Judge Bryan set a February 11, 2022,

hearing date.18       On February 11, 2022, Defendants responded by

asking the court to deny the

     motion to enforce the Court’s order because Phillips 66
     has already twice complied by providing a revised
     stipulation addressing every requirement of the order.
     Further, Phillips 66 requests clarification from the
     Court that any stipulation finally submitted to the court
     must be agreed to by both parties.19

After holding a hearing, Judge Bryan granted in part and denied in

part Plaintiff’s motion, and ordered the parties

     to enter into a stipulation containing the jointly
     negotiated paragraphs identified at ECF No. 79 at 4
     (i.e., ECF No. 79-4 at ¶¶ 17-19, 23-25, 29-38, 44-46, 50,
     53, 56-57, 64-66, 69, 71, 74, 77, 88-99) no later than
     February 15, 2022.20

Judge Bryan also ordered the parties to “submit a joint proposed

order extending the current deadlines in the docket control order

(ECF No. 23, as amended by Docket Entry Nos. 73 and 75).”21

     On February 15, 2022, the court issued an Order (Docket Entry

No. 83), which referred this case to Judge Bryan for all pretrial

matters.        On the same day the parties filed a Joint Notice of

Stipulation (Docket Entry No. 84), and a Stipulation (Docket Entry

No. 84-1).


     18
          Notice of Setting, Docket Entry No. 78.
     19
      Defendant Phillips 66’s Response to Motion to Enforce Order,
Docket Entry No. 79, pp. 1-2.
     20
          Order, Docket Entry No. 81, p. 1.
     21
          Id.

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     On February 16, 2022, the parties filed a Joint Motion for

Extension of Time (Docket Entry No. 85), which the court granted

(Docket Entry No. 86).     The new deadlines were:

March 1, 2022        Supplemental Infringement and Damages Expert
                     Reports
March 15, 2022       Discovery and Supplemental Reports
March 29, 2022       Rebuttal Expert Reports
April 12, 2022       Dispositive and Non-Dispositive Motions

     On February 19, 2022, Plaintiff filed a second motion to

compel discovery (Docket Entry No. 88), and a motion for a finding

of spoliation and sanctions against Defendants for deliberate

destruction of evidence (Docket Entry No. 90).          In the pertinent

part of its second motion to compel, Plaintiff argued that

     Defendants [] have repeatedly blocked Magçmâ from
     obtaining physical samples of their feeds and products.
     In doing so, Defendants contend that their data is
     sufficient. At the same time, Defendants have produced
     what appears to be intentionally incomplete testing on
     the exact physical properties on which they rely [] for
     their non-infringement arguments.    Defendants contend
     that they routinely test samples, but the fact is that
     they rarely test any one sample to provide all
     information.    They have admitted that many of the
     requisite ISO 8217 Table 2 properties are “not routinely
     tested.” . . . Magçmâ fully expects Defendants to argue
     that they have produced all data and testing in their
     possession.     Nonetheless, Magçmâ seeks an order
     compelling Defendants to produce such data and testing.
     Defendants are unlikely to undertake the exhaustive
     search demanded by the importance of this data and
     testing until ordered to do so. Magçmâ further requests
     that this Court order Defendants to certify to the Court
     once they have fully complied with their discovery
     obligations and any Order to prevent delays.22

     22
          Plaintiff Magçmâ Technology LLC’s Second Motion to Compel
                                                      (continued...)

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In the motion seeking a finding of spoliation and sanctions,

Plaintiff argued that

       Defendants intentionally destroyed many hundreds (if not
       thousands) of physical samples of their feed to and
       products of their Bayway DSU-1 hydrotreater and their
       Wood River ULD-2 hydrotreaters (Accused Hydrotreaters)
       during this litigation and after Magçmâ repeatedly
       requested these samples in discovery. Defendants even
       destroyed samples that they tested in support of their
       non-infringement defense, while failing to produce any
       portion of them to Magçmâ.23

       On February 28, 2022, the parties filed a Third Joint Motion

for Amended Scheduling Order (Docket Entry No. 94), which the court

granted on March 3, 2022 (Docket Entry No. 96).            The new deadlines

were:

April 7, 2022         Supplemental Infringement and Damages Expert
                      Reports
April 21, 2022        Discovery and Supplemental Reports
May 5, 2022           Rebuttal Expert Reports
May 19, 2022          Dispositive and Non-Dispositive Motions

       On March 14, 2022, Defendants filed responses in opposition to

Plaintiff’s      motion for spoliation and sanctions and second motion

to compel discovery (Docket Entry Nos. 98 and 99, respectively).

On    March   18,   2022,   Defendants   filed   a   Corrected   Response      in

Opposition to Plaintiff’s Second Motion to Compel (Docket Entry

No. 105).

       22
      (...continued)
Discovery on Various Issues, Docket Entry No. 88, p. 9.
       23
      Magçmâ Technology LLC’s Motion for Spoliation Finding and
Sanctions Due to Defendants’ Deliberate Destruction of Evidence,
Docket Entry No. 90, p. 5.

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     On March 23, 2022, Judge Bryan held a hearing and heard

argument   on   Plaintiff’s   motions     at   which   the   court   denied

Plaintiff’s motion for spoliation and sanctions without prejudice

to re-raising the issue regarding Defendants’ failure to perform

testing for data regarding the sixteen ISO 8217 physical properties

at issue, and granted in part and denied in part Plaintiff’s second

motion to compel as stated in an Order (Docket Entry No. 118)

entered on March 29, 2022.      The court also ordered the parties to

meet and confer on missing data, to submit a joint letter outlining

any remaining disputes, and to file a jointly proposed amended

scheduling order to provide for the completion of discovery prior

to the submission of supplemental expert reports.24

     On April 6, 2022, the parties filed a Fourth Joint Motion for

Amended Scheduling Order (Docket Entry No. 123), which the court

granted (Docket Entry No. 124).       The new deadlines were:

May 23, 2022        Supplemental Infringement and Damages Expert
                    Reports
June 6, 2022        Discovery on Supplemental Reports
June 20, 2022       Rebuttal to Supplemental Infringement and
                    Damages Expert Reports
July 5, 2022        Dispositive and Non-Dispositive Motions
July 26, 2022       Responsive Briefs
August 2, 2022      Reply Briefs

     On April 8, 2022, Defendants filed a Stipulation Regarding ISO

8217 Characteristics (Docket Entry No. 125).



     24
      Id. at 2-3.    See also Minute Entry for Hearing Held on March
23, 2022.

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     On April 14, 2022, Plaintiff filed a letter regarding the

remaining discovery disputes (Docket Entry No. 126).            Defendants

responded on April 21, 2022 (Docket Entry No. 127), and on April

29, 2022, Judge Bryan entered an Order (Docket Entry No. 128),

resolving the parties’ discovery disputes.

     On May 23, 2022, the parties filed their Fifth Joint Motion

for Amended Scheduling Order (Docket Entry No. 131), which the

court granted (Docket Entry No. 132).        The new deadlines were:

May 31, 2022       Supplemental Infringement and Damages Expert
                   Reports
June 14, 2022      Discovery and Supplemental Reports
June 28, 2022      Rebuttal to Supplemental Infringement and
                   Damages Expert Reports
July 12, 2022      Dispositive and Non-Dispositive Motions
August 2 2022      Responsive Briefs
August 9, 2022     Reply Briefs

     On May 31, 2022, Magçmâ served Dr. Speight’s Consolidated

Infringement Report.25

     On June 17, 2022, the parties filed a Joint Mediation Status

Report and Joint Motion to Extend the Mediation Deadline in the

Mediation Referral Order (Docket Entry No. 136), stating that they

agreed to engage in a second mediation on August 30-31, 2022, and

requesting an extension of the mediation deadline established in



     25
      Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, p. 10. See also Consolidated and
Supplemental Infringement Expert Report of Dr. James G. Speight,
p. 115, Exhibit 17 to Defendants’ MPSJ and Motion to Exclude,
Docket Entry No. 159-6, p. 14.

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the Order referring the case to mediation (Docket Entry No. 52) to

August 31, 2022.    On June 21, 2022, the court granted the request

and entered an Order Extending Mediation Deadline (Docket Entry

No. 137).

     On July 11, 2022, the parties filed a Sixth Joint Motion for

Amended Scheduling Order (Docket Entry No. 143), which the court

granted (Docket Entry No. 144).       The new deadlines were:

August 3, 2022        Dispositive and Non-Dispositive Motions
August 24, 2022       Responsive Briefs
September 6, 2022     Reply Briefs

     On July 27, 2022, the parties filed a Seventh Joint Motion for

Amended Scheduling Order (Docket Entry No. 148), which the court

granted (Docket Entry No. 149).       The new deadlines were:

                               Current Deadline      Requested Deadline
Supplemental                                         August 3, 2022
Infringement Report
Rebuttal Report                                      August 17, 2022
Expert Discovery                                     August 24, 2022
Dispositive and Non-           August 3, 2022        September 8, 2022
Dispositive Motions
Responsive Briefs              August 24, 2022       September 29, 2022
Reply Briefs                   September 6, 2022     October 6, 2022

     On August 3, 2022, Magçmâ served Dr. Speight’s Supplemental

Infringement Report.26


     26
      Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, p. 10. See also Supplement to the
Consolidated Infringement Expert Report of Dr. James G. Speight,
                                                  (continued...)

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C.     Undisputed Facts27

       Plaintiff     accuses   Defendants    of   infringing   the   Asserted

Patents through hydroprocessing operations at its Bayway and Wood

River refineries, where Defendants hydroprocess (or hydrotreat)

petroleum products to make a marketable low sulfur HMFO.                       In

general, hydrprocessing (or hydrotreating) exposes liquid petroleum

products to hydrogen at elevated temperatures and pressures in the

presence of a catalyst to promote the chemical change of sulfur

into hydrogen sulfide gas that can then be removed from the liquid

petroleum products.

       ISO 8217 Table 2 sets forth sixteen physical properties for

“Residual marine fuels.”28 Important to the pending motions is that

Table 2 requires a minimum flash point of 60N C (140N F).29

       Flash point is the temperature at which the vapors of a
       fuel ignite (under specified test conditions), when a
       test flame is applied.     In other words, flash point
       represents the lowest temperature at which a liquid will
       form a vapor in the air near its surface that will
       “flash” or briefly ignite when exposed to an open flame.
       The flash point is a general indicator of the

       26
      (...continued)
Exhibit 17 to Plaintiff’s MPSJ and Application of 35 U.S.C. § 295,
Docket Entry No. 161-17.
       27
      These undisputed facts are excerpted for purposes of ruling
on the pending motions from Defendants’ MPSJ and Motion to Exclude,
Docket Entry No. 158, pp. 7-13; Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 161, pp. 13-19; and Defendants’
Response to Magçmâ’s Motion for Partial Summary Judgment of
Infringement and Application of Presumption of Infringement
(“Defendants’ Response to Plaintiff’s MPSJ and Application of 35
U.S.C. § 295”), Docket Entry No. 176, pp. 7-10.
       28
      ISO 8217, pp. 10-11, Exhibit 5 to Defendants’ MPSJ and Motion
to Exclude, Docket Entry No. 158-5, pp. 18-19.
       29
            Id. at 10.

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      flammability or combustability of a liquid. Flash point
      is important to the safety of storing petroleum
      products.30

      The Bayway hydrotreater is referenced throughout the parties’

briefing as     the     DSU-1    hydrotreater.        Feed    to    Bayway’s       DSU-1

hydrotreater is usually a combination of two and sometimes three

streams: heavy cycle heating oil (“HCHO”), heavy cycle gas oil

(“HCGO”), and sometimes light cycle heating oil (“LCHO”). At times

the feed also includes a recycle stream.31                  Defendants regularly

sample and test the feed to the DSU-1 hydrotreater, including for

flash point,     using     the    testing    method    provided      by     ATSM    D93.

Defendants sample the feed before any recycled products are added

to the feed and before the feed enters the surge drum referred to

variously as Vapor Disengaging Drum and Drum D-101.                        Drum D-101

typically operates at a temperature of 270N F.                After Drum D-101 no

material is added to or removed from the Bayway feed until it is

mixed with hydrogen gas to form a Feedstock Mixture.                        Plaintiff

moved to compel production of samples taken after Drum D-101, but

the   court    denied     that    motion     after    Defendants       argued       that

establishing     a    sampling     station    after     Drum       D-101    would    be

expensive,    unsafe,     and    not   necessary      for    proving       Plaintiff’s

allegations of infringement.

      30
      Consolidated Expert Report of Edward L. Sughrue II on Non-
Infringement, p. 21, Exhibit 11 to Plaintiff’s MPSJ and Application
of 35 U.S.C. § 295, Docket Entry No. 161-11, p. 6.
      31
       See Defendants’ Second Supplemental Responses to Plaintiff’s
Second   Set   of   Interrogatories,   Supplemental   Response   to
Interrogatory No. 11 (March 14, 2022), pp. 13-17, Exhibit 6 to
Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket Entry
No. 161-6, pp. 11-15.

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II.     Defendants’ Request for Leave to Supplement Will Be Denied

      Without citing any authority, Defendants “request[] leave to

supplement [their] response (ECF 176) in opposition to Magçmâ’s

motion for partial summary judgment of infringement (ECF 161) with

evidence of flash point testing from a new sample station.”32

Defendants explain that

      [t]he parties dispute the flash point of feed after
      passing through drum D-101. See Motion, ECF 161 at 16.
      Phillips 66 has recently installed a new sample station
      that can collect samples and measure the flash point of
      material after drum D-101.      Accordingly, this new
      evidence is relevant to a key issue in the motion.

           Phillips 66 proposes to supplement its prior
      response with a 1-page brief and a 2-page declaration
      describing the recently installed sample station and the
      resulting measurements of flash point. . .33

Citing inter alia, Federal Rules of Civil Procedure 16, 26, and 37,

Plaintiff responds that Defendants’ motion should be denied and

that its untimely evidence should be excluded because it has

limited evidentiary value and is unduly prejudicial, a continuance

would not cure the prejudice, and Defendants have provided no

reasonable explanation for their untimely production.34         Relying on

Rules 26 and 37, Defendants reply that the evidence is not untimely

because it was produced as soon as it existed.35


      32
           Defendants’ Request to Supplement, Docket Entry No. 198,
p. 1.
      33
      Id. (citing Plaintiff’s MPSJ and Application of 35 U.S.C.
§ 295, Docket Entry No. 161, p. 22).
      34
      Magçmâ’s Opposition to Defendants’ Motion for Leave to
Supplement Its Response (ECF No. 198) (“Plaintiff’s Opposition to
Defendants’ Request to Supplement”), Docket Entry No. 199.
      35
           Defendants’ Reply in Support of Its Request for Leave to
                                                      (continued...)

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A.     Applicable Law

       Defendants’ request to supplement asks the court to allow

evidence of flash point from samples taken at a newly established

sample station, i.e., after Drum D-101.                The Federal Circuit

“appl[ies] regional circuit law to evidentiary issues.”              VirnetX,

Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1324 (Fed. Cir. 2014).

       Federal Rule of Civil Procedure 16(b) gives district courts

broad discretion to enforce deadlines in their scheduling orders.

Batiste v. Lewis, 976 F.3d 493, 500 (5th Cir. 2020).               Under Rule

16(b)(4), a scheduling order may be amended “only for good cause.”

The good cause standard requires the party seeking relief to show

that the deadlines could not reasonably have been met despite the

diligence of the party needing the extension. See S&W Enterprises,

L.L.C. v. SouthTrust Bank of Alabama, NA, 315 F.3d 533, 536 (5th

Cir. 2003). When determining whether a movant has established good

cause to amend a scheduling order to allow additional evidence,

courts consider four factors: “(1) the explanation for the failure

to timely [comply with the scheduling order]; (2) the importance of

the [evidence]; (3) potential prejudice in allowing the [evidence];

and (4) the availability of a continuance to cure such prejudice.”

Id.     See also Batiste, 976 F.3d at 500 (identifying these four



       35
      (...continued)
Supplement Its Response to Magçmâ’s Motion for Partial Summary
Judgment of Infringement (“Defendants’ Reply in Support of Request
to Supplement”), Docket Entry No. 200, pp. 2, and 10-18.

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factors as factors the Fifth Circuit considers in determining

whether      a    district    court   abused     its   discretion   by   excluding

evidence as a means of enforcing its scheduling order).

       Federal Rule of Civil Procedure 26(e)(1) provides that a party

who has made a disclosure under Rule 26(a) or responded to an

interrogatory

       must supplement or correct its disclosure or response:
       (A) in a timely manner if the party learns that in some
       material respect the disclosure or response is incomplete
       or incorrect, and if the additional or corrective
       information has not otherwise been made known to the
       other parties during the discovery process or in writing.

Fed. R. Civ. P. 26(e)(1)(A).

       Federal Rule of Civil Procedure 37(c)(1) provides, “[i]f a

party fails to provide information . . . as required by Rule 26(a)

or (e), the party is not allowed to use that information . . . to

supply evidence on a motion, at a hearing, or at trial, unless the

failure was substantially justified or is harmless.”                Additionally

or instead of this sanction, a district court:

       (A)       may order payment of the reasonable expenses,
                 including attorney’s fees, caused by the failure;

       (B)       may inform the jury of the party’s failure; and

       (C)       may impose other appropriate sanctions, including
                 any    of    the     orders  listed    in    Rule
                 37(b)(2)(A)(i)-(vi).

Fed. R. Civ. P. 37(c)(1)(A)-(C). To determine if a late disclosure

is    “substantially         justified”    or    “harmless,”   courts     consider

essentially the same factors used to decide if good cause has been


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shown to amend a scheduling order: “(1) the importance of the

evidence; (2) the prejudice to the opposing party of including the

evidence; (3) the possibility of curing such prejudice by granting

a continuance; and (4) the explanation for the party’s failure to

disclose.”      Primrose Operating Co. v. National American Insurance

Co., 382 F.3d 546, 563-64 (5th Cir. 2004) (quoting Texas A&M

Research Foundation v. Magna Transportation Inc., 338 F.3d 394, 402

(5th Cir. 2003)).



B.     Analysis

       1.    Defendants’ Explanation for the Timing of Their Request

       As explained in § I.B, above, and in Plaintiff’s briefing, on

September 22, 2021, Magçmâ moved to compel Defendants to produce

physical samples of the feeds to and the products from the accused

hydrotreaters at specific locations, including after the Feed to

Heater (SP4) located after the feed had passed through Drum D-101

at the Bayway refinery.36       Defendants responded that they had never

opposed providing samples of fluids from its custom built sample

stations located throughout its refineries, but that they opposed

providing samples from other locations requested by Plaintiff,



       36
      Plaintiff Magçmâ Technology LLC’s Motion to Compel, Docket
Entry No. 54, p. 3, and Exhibit A, Docket Entry No. 54-2 (seeking
“Feed to Heater” “At suction of Pump P101A, Pump P101B, or Pump
P101C”). See also Magçmâ Technology LLC’s Reply in Support of Its
Motion to Compel Physical Samples (ECF No. 54), Docket Entry
No. 59, p. 3 (identifying the requested sample point as “SP4”).

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including SP4 located after Drum D-101, because those locations

were not safe and samples from those locations were not necessary

to analyze infringement in this case.37            Plaintiff replied by

narrowing its request to two sample points that constitute “total

feed” to each of the two accused hydrotreaters.38              The sample

requested from the Bayway refinery was for “Feed to Heater (‘SP4’)

At suction Pump P101A, Pump P101B, or Pump P101C,”39 which is a

location after Drum D-101.40

     At a hearing held on November 4, 2021, Judge Bryan told the

parties that she was not keen on ordering sampling that Defendants

told her was not safe and would cost hundreds of thousands of

dollars   to   make   safe,   but   that   Plaintiff’s    contention    the



     37
      Defendants’ Response in Opposition to Plaintiff’s Motion to
Compel, Docket Entry No. 57, pp. 1, 9-10 (“That leaves samples SP3,
SP4, and SP5. Magçmâ articulates no need for these samples, much
less any relevance to alleged infringement.       Indeed, they are
irrelevant to the asserted claims. Moreover, sampling at these
locations would require Phillips 66 to launch an MOC process, and
then modify its equipment and/or make those locations physically
accessible to mitigate risks. . . For these, and for all the same
safety issues and cost burden associated with sampling from unusual
locations described for Wood River, Magçmâ’s request should be
denied.”).
     38
      Magçmâ Technology LLC’s Reply in Support of Its Motion to
Compel Physical Samples (ECF No. 54), Docket Entry No. 59, pp. 2-3.
     39
      Id. at 3 (reiterating its request for “Feed to Heater” “At
suction of Pump P101A, Pump P101B, or Pump P101C” and identifying
that requested sample as “SP4”).
     40
      See Map of the Bayway Refinery, Exhibit 12 to Plaintiff’s
MPSJ and Application of 35 U.S.C. § 295, Docket Entry No. 161-12,
p. 2.

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information was needed to satisfy its burden of proof made sense.41

Nevertheless, after Defendants argued that Plaintiff did not need

the requested samples to satisfy its burden of proof,42 the court

denied Plaintiff’s motion to compel production of samples from

locations     other   than    Defendants’     existing      sample    stations,

including samples being sought from after Drum D-101.43

     On     October   27,    2022,   almost    one   year     after   opposing

Plaintiff’s motion to compel the production of samples from after

Drum D-101, and persuading the court to deny Plaintiff’s motion to

compel the production of such samples, Defendants filed the pending

request for leave to supplement stating that “Phillips 66 has

recently installed a new sample station that can collect samples .

. . of material after drum D-101.”44          Defendants assert that

     Phillips 66 installed the sampling station in order to
     safely test for flash point after Magçmâ injected and
     then expanded its D-101 infringement theory after the
     close of discovery. Moreover, no rule of discovery or
     order required Phillips 66 to invest the resources and
     effort to install the D-101 sampling station earlier in
     this case.45



     41
      Transcript of November 4, 2021, Motion Hearing, Docket Entry
No. 68, p. 14:3-9.
     42
          Id. at 14:10-15:14.
     43
          Id. at 23:1-12.
     44
          Defendants’ Request to Supplement, Docket Entry No. 198,
p. 1.
     45
      Defendants’ Reply in Support of Request to Supplement, Docket
Entry No. 200, p. 4 (emphasis added).

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     Defendants’ assertion that they installed a sampling station

after Drum D-101 to safely test for flash point after Magçmâ

injected and then expanded its drum D-101 infringement theory

following the close of discovery is not supported by the record.

Defendants were placed on notice of the relevance of Drum D-101 at

least as early as September 22, 2021, when Plaintiff filed its

motion to compel production of sample SP4 from after Drum D-101.46

The relevance of Drum D-101 was also raised in the initial report

of Plaintiff’s expert, Dr. James G. Speight, which was served on

Defendants   on   October    7,   2021,47   and   in   the   opposition   that

Defendants mounted to Plaintiff’s motion to compel.48              Moreover,

Dr. Speight was questioned about Drum D-101 during his deposition

on January 5, 2022.49       The record shows that Defendants were not



     46
      Plaintiff Magçmâ Technology LLC’s Motion to Compel, Docket
Entry No. 54, p. 3, and Exhibit A, Docket Entry No. 54-2 (seeking
“Feed to Heater” “At suction of Pump P101A, Pump P101B, or Pump
P101C”). See also Magçmâ Technology LLC’s Reply in Support of Its
Motion to Compel Physical Samples (ECF No. 54), Docket Entry
No. 59, pp. 2-3 (reiterating its request for “Feed to Heater” “At
suction of Pump P101A, Pump P101B, or Pump P101C” and identifying
that requested sample as “SP4”).
     47
      Expert Report of Dr. James G. Speight, Exhibit 12 to
Defendants’ MPSJ and Motion to Exclude, pp. 92-94 ¶¶ 276-78, Docket
Entry No.158-12, pp. 5-7.
     48
      Defendants’ Response in Opposition to Plaintiff’s Motion to
Compel, Docket Entry No. 57, pp. 1, 9-10 (challenging the relevance
of sample SP4, Feed to Heater located after Drum D-101).
     49
      Oral Videotaped Deposition of Dr. James G. Speight (“Speight
Deposition”), pp. 70:10-85:24, 193:16-197:6, Exhibit 15 to
Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158-15,
pp. 14-19.

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only on notice of the relevance of Drum D-101 before fact discovery

closed on November 11, 2021, and long before expert discovery

closed on June 14, 2022, but also that Defendants successfully

opposed Plaintiff’s effort to compel production of samples from

after Drum D-101.50      Despite being put on notice of the relevance

that samples taken from after Drum D-101 have to this action,

Defendants chose not to take samples from that location.                         Now,

after successfully challenging Plaintiff’s request for samples from

after Drum D-101, long after discovery has closed, and after the

parties have finished briefing cross motions for partial summary

judgment,      Defendants      seek   to   supplement     their        opposition   to

Plaintiff’s MPSJ with samples taken from the location that they

previously      argued   was    neither    safe    nor    relevant.      Defendants’

request to supplement essentially seeks to reopen discovery to

sample feed after Drum D-101 to explore whether feed there meets

the ISO 8217 flash point.             Defendants have failed to provide a

reasonable explanation for their failure to sample feed after Drum

D-101 before the discovery deadlines.                  Defendants were put on

notice    of   the   issue     in   September     of   2021,     yet    waited   until

discovery      had   closed,    and   cross     motions    for    partial    summary

judgment had been fully briefed to establish a station to sample

feed after drum D-101.         Accordingly, the court concludes that this

factor weights against granting Defendants’ motion to supplement.


     50
      Transcript of November 4, 2021, Motion Hearing, Docket Entry
No. 68, p. 23:1-12.

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     2.         Importance of the Evidence

     Defendants argue that the supplementary evidence they seek to

cite is important because “[t]he parties dispute the flash point of

feed after passing through drum D-101,”51 and that the “recently

installed new sample station [] can collect samples and measure the

flash point of material after drum D-101.”52

     Defendants argue that

     Magçmâ claims that the flash point tests have limited
     evidentiary value, but the new tests undercut a primary
     basis for Magçmâ’s motion for partial summary judgment.
     In its motion, Magçmâ argues that the relevant point for
     calculating flash point is after drum D-101, and then
     calculates the flash point as exceeding the required
     minimum of 140N F.         The new D-101 flash point
     measurements instead show that the flash point is less
     than 140N F, thereby directly contradicting the estimates
     relied upon by Magçmâ.53

Defendants explain that “[t]he results to date confirm that the

flash point after drum D-101 remains well under the required

minimum 140N F. . . The results also confirm that drum d-101 does

not remove light hydrocarbons or increase the flash point of fuel

passing through it.”54        Asserting that Magçmâ moves for partial

summary judgment of infringement at Bayway based on the flash point



     51
          Defendants’ Request to Supplement, Docket Entry No. 198,
p. 1.
     52
          Id.
     53
      Defendants’ Reply in Support of Request to Supplement, Docket
Entry No. 200, p. 4.
     54
          Id. at 8.

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of the feedstock after passing through drum D-101, and that Magçmâ

relies on expert testimony that the flash point exceeds 140N F after

the light hydrocarbons are removed by drum D-101, Defendants argue

that

       [t]he flash point measurement[s] from the new sample
       station after drum D-101 contradict the opinions relied
       upon by Magçmâ and create fact issues as to whether drum
       D-101 affects flash point and whether the flash point
       after drum D-101 exceeds the required minimum of 140N F.55

       Plaintiff argues that Defendants’ recent testing has limited

evidentiary value because missing from the declaration of Bayway

refinery employee John Allen concerning test results from the

recently installed sample station “is any statement that Phillips

has not changed or altered the operation of DSU-1 or the D-101

vapor disengaging drum prior to this new sampling.”56            Plaintiff

argues that

       [i]f Phillips changed or altered the process, then the
       test results are necessarily not representative of the
       prior operation of DSU-1. And if whatever changes made
       are temporary, when Phillips reverts back to its prior
       operation, these test results would not be relevant to
       the issue of ongoing infringement either. The proffered
       results may merely show one snapshot of an altered
       operation that would not be commercially viable in the
       long term. That Phillips can manipulate its processes
       now to obtain such results for a handful of days is not
       meaningful to the analysis of infringement over the past
       36 months. Moreover, the raw data contains anomalies


       55
            Id. at 9.
       56
      Plaintiff’s Opposition to Defendants’ Request to Supplement,
Docket Entry No. 199, p. 10 (citing Supplemental Bayway Declaration
of John Allen (“Allen Declaration”), Exhibit A, Docket Entry
No. 198-1, pp. 5-7).

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     such as an inexplicable and substantial time difference
     (hours) between the collection of samples before and
     after the D-101 drum.      Because Phillips refused to
     produce these samples before the close of discovery,
     Magçmâ has no way to test the proffered evidence at this
     late juncture in the case.

                               . . .
          Further, Phillips submits no expert declaration
     about how this testing impacts infringement. Phillips
     only proffers a scant two page declaration from its
     employee, who is not an expert and cannot provide expert
     testimony about noninfringement or draw conclusions about
     the significance of the testing.57

     Although Defendants argue that testing of samples from the

recently installed sample station constitute important evidence

that contradict the opinions of Plaintiff’s expert because they

show that the flash point of feed into the Bayway hydrotreater is

less than the minimum of 140N F required for infringement, the

evidentiary       value    of   these   samples     is   diminished   by    their

production long after discovery closed and too late for the their

reliability to be evaluated or their impact on infringement to be

assessed     by    the    parties’   experts.        Moreover,   their     recent

production precludes them from having any evidentiary value with

respect to whether Defendants’ infringed the asserted patents from

November of 2020, when this action was filed, to October of 2022

when the new samples were taken.               Accordingly, the importance of

the supplemental evidence is minimal.

     Moreover, missing from Defendants’ briefing in support of its

motion to supplement is Defendants’ recognition that in response to


     57
          Id. at 10-11.

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Plaintiff’s motion to compel sampling from the location where

Defendants have created the new station for taking the samples on

which they now seek to rely, Defendants argued that Plaintiff did

not need samples from that location to establish infringement.

Defendants argued that

     Magçmâ requests samples of the combined feed and product
     streams into each hydrotreater, but Phillips 66 does not
     have a sample station to collect the combined streams.
     The Magçmâ patents focus on the properties of the feed
     into the hydrotreater and the product coming out of it.
     During operation of the accused hydrotreaters, Phillips
     66 recycles part of its product stream back through the
     hydrotreater to meet volumetric flow requirement of the
     unit when fresh feed is not enough. Phillips 66 does not
     monitor the conditions of this combined fresh feed and
     recycled product streams because it is immaterial to
     operating the unit, so it does not have a sample station
     for this combined stream.

          Magçmâ can estimate the physical properties of the
     combined streams with the samples from the feed and
     product sampling stating using information produced about
     the relative volumetric flow of those streams into the
     unit, but Magçmâ raises incorrect concerns about the
     accuracy of the flow data. . . Magçmâ believed there were
     significant discrepancies in the reported flows for one
     of the units, which could not be addressed by a deponent
     without   further    investigation.  . .    Phillips   66
     subsequently investigated and provided Magçmâ with
     information through a recent interrogatory response that
     detailed the error in their analysis and how the meters
     accurately      measured    flow    within     acceptable
                   58
     expectations.




     58
      Defendants’ Response in Opposition to Plaintiff’s Motion to
Compel, Docket Entry No. 57, pp. 6-7.

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     Asserting that “[t]here are a lot of different ways to try to

get to the estimates of combining these streams,”59 Defendants’

counsel agreed to discuss the data with Plaintiff’s counsel and

stipulate to a written document clarifying what the available data

represents.60



     3.      Potential Prejudice in Allowing the Evidence

     Plaintiff argues that

     [p]ermitting Phillips to belatedly introduce and rely
     upon evidence that it refused to produce during discovery
     would unduly prejudice Magçmâ. Phillips’ late production
     denied Magçmâ any meaningful opportunity to question the
     proffered evidence, including inter alia, the extent to
     which Phillips altered the operation of the D-101 vapor
     disengaging drum and the feed components during sampling.
     . . The untimely production also denied Magçmâ the
     opportunity to depose a Bayway representative about this
     testing and sampling.     It further denied Magçmâ the
     ability to have its expert review and consider this
     repeatedly-requested     evidence,    which    ultimately
     necessitated reliance on other evidence, including inter
     alia, the Riazi calculations.61

     Defendants reply that

     Magçmâ claims prejudice, but any perceived prejudice may
     be addresse[d] through limited supplemental briefing and
     discovery as needed. Magçmâ continues its complaints of
     alleged discovery abuses by Phillips 66, but the record
     to date shows that Magçmâ has protracted this litigation
     through extensive motion practice that has effectively
     failed to prove any meaningful discovery failures by
     Phillips 66, much less discovery abuses.62

     59
          Id. at 25:15-16.
     60
          Id. at 24:20-25:19.
     61
      Plaintiff’s Opposition to Defendants’ Request to Supplement,
Docket Entry No. 199, p. 12.
     62
          Defendants’   Reply   in   Support   of   Request   for Leave to
                                                              (continued...)

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     The   court    concludes    that   granting    Defendants’   motion    to

supplement would be unduly prejudicial.         Defendants’ argument that

any prejudice caused to Plaintiff could be addressed by limited

supplemental briefing and discovery fails to acknowledge that

reopening discovery at this late stage of the case would not only

require yet another amendment to the court’s scheduling order,

which has already been amended eight times, but would also require

additional   fact   and   expert   discovery,      additional   depositions,

additional expert reports, and possibly another round of summary

judgment motions.     The amount of duplicative work required would

unnecessarily burden the time and resources of both the parties’

and the court.      Accordingly, this factor weighs against granting

the Defendants’ motion.



     4.    Availability of a Continuance to Cure Such Prejudice

     Plaintiff argues that a continuance would not cure the undue

prejudice that granting Defendants’ motion to supplement would

cause.63   Although no trial date has been set, this action is at an

advanced stage.      All fact and expert discovery is closed.              The

parties’ cross motions for partial summary judgment are ripe for

decision, and once those motions have been ruled upon, this case

will be ready for trial.        A continuance would not cure but would,


     62
      (...continued)
Supplement, Docket Entry No. 200, p. 4.
     63
      Plaintiff’s Opposition to Defendants’ Request to Supplement,
Docket Entry No. 199, p. 13.

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instead, exacerbate the prejudice that granting the Defendants’

motion to supplement would cause by necessitating discovery to be

reopened, likely prompting a second round of summary judgment

briefing,     and   delaying    trial   into   the   unforeseeable    future.

Accordingly, this factor weighs against granting Defendants’ motion

to supplement.



C.     Conclusions

       As detailed above in § I.B, the court entered a Docket Control

Order in this case on October 30, 2020 (Docket Entry No. 23), which

set dates for the close of fact and expert discovery as November

11, 2021, and December 9, 2021, respectively.               Since then, the

dates for expert discovery have been amended five times (Docket

Entry Nos. 75, 86, 96, 124, and 132), the final date being June 14,

2022 (Docket Entry No. 132).            Defendants’ motion to supplement

their response to Plaintiff’s motion for partial summary judgment

with newly developed evidence is essentially a request to reopen

discovery filed on October 27, 2022, almost a year after fact

discovery closed on November 11, 2021, and over four months after

expert discovery closed on June 14, 2022.            Regardless of whether

Defendants’ motion to supplement is analyzed pursuant to the

factors that courts consider when deciding if good cause exists to

amend a scheduling order under Rule 16(b), or if a late disclosure

is “substantially justified” or “harmless” under Rule 37, the

factors      all    weigh    against     granting     Defendants’     motion.

Accordingly, Defendants’ Motion to Supplement will be denied.

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          III. Motions to Exclude or Strike Expert Testimony

       Pending       before   the     court   are     two   motions   to   exclude:

(1) Plaintiff’s Corrected Motion to Exclude Dr. Sughrue (Docket

Entry No. 163), and (2) Defendants’ Motion to Exclude Magçmâ’s

expert opinions on flash point at Bayway and on damages to the

extent     that      they   include    non-infringing       barrels    included   in

Defendants’ MPSJ and Motion to Exclude (Docket Entry No. 158).

Also pending before the court is Plaintiff’s request to strike the

Declaration of John Allen made in Plaintiff’s Reply in Support of

MPSJ and Application of 35 U.S.C. § 295 (Docket Entry No. 192).



A.     Applicable Law

       Federal Rule of Evidence 702 allows expert testimony to be

admitted if it assists the trier of fact to understand the evidence

or determine a fact in issue.            Fed. R. Evid. 702.      Rule 702 states:

       A witness who is qualified as an expert by knowledge,
       skill, experience, training, or education may testify in
       the form of an opinion or otherwise if:

            (a) the expert’s scientific, technical, or other
       specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue;

               (b)    the testimony is based on sufficient facts or
       data;

            (c) the testimony is                the   product   of    reliable
       principles and methods; and

            (d) the expert has reliably applied the principles
       and methods to the facts of the case.



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     When asked to do so, a district court must make a preliminary

determination as to whether the requirements of Rule 702 are

satisfied with respect to a particular expert’s proposed testimony.

See Daubert v. Merrell Dow Pharmaceuticals, Inc., 113 S. Ct. 2786,

2796 (1993) (citing Fed. R. Evid. 104(a), which states, “[t]he

court must decide any preliminary question about whether a witness

is qualified, . . . or evidence is admissible.”).           Courts act as

gatekeepers of expert testimony “to make certain that an expert,

whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual

rigor that characterizes the practice of an expert in the relevant

field.”    Kumho Tire Co., Ltd. v. Carmichael, 119 S. Ct. 1167, 1176

(1999). The party offering the expert’s testimony bears the burden

of proving by a preponderance of the evidence that: (1) the expert

is qualified; (2) the testimony is relevant to an issue in the

case; and (3) the testimony is reliable.         Daubert, 113 S. Ct. at

2794-95.    See also Pipitone v. Biomatrix, Inc., 288 F.3d 239, 244

(5th Cir. 2002) (“[E]xpert testimony is admissible only if it is

both relevant and reliable.”).

     To be qualified an expert “witness must have such knowledge or

experience in [his] field or calling as to make it appear that his

opinion or inference will probably aid the trier in his search for

truth.” United States v. Hicks, 389 F.3d 514, 524 (5th Cir. 2004),

cert. denied, 126 S. Ct. 1022 (2006) (quoting United States v.


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Bourgeois, 950 F.2d 980, 987 (5th Cir. 1992)).                 To be relevant the

reasoning or methodology underlying the expert’s testimony must be

applicable to the facts in issue.               See Moore v. Ashland Chemical,

Inc., 151 F.3d 269, 275 (5th Cir. 1998) (en banc), cert. denied,

119   S.   Ct.   1454   (1999).        To     be   reliable    the   reasoning   or

methodology      underlying        the      expert’s      testimony     must     be

scientifically valid.        Id.    The Fifth Circuit has recognized that

Daubert articulated a non-exclusive, list of flexible criteria for

determining reliability, including:

      (1) whether the expert’s theory can be or has been
      tested; (2) whether the theory has been subject to peer
      review and publication; (3) the known or potential rate
      of error of a technique or theory when applied; (4) the
      existence and maintenance of standards and controls; and
      (5) the degree to which the technique or theory has been
      generally accepted in the scientific community.

Id. (citing Daubert, 113 S. Ct. at 2796-97).                  “The proponent need

not prove to the judge that the expert’s testimony is correct, but

[] must prove by a preponderance of the evidence that the testimony

is reliable.”      Moore, 151 F.3d at 276.               See also Guy v. Crown

Equipment Corp., 394 F.3d 320, 325 (5th Cir. 2004) (“Although the

Daubert    analysis     is   applied     to     ensure   expert    witnesses    have

employed    reliable     principles         and    methods    in   reaching    their

conclusions, the test does not judge the expert’s conclusions

themselves.”).




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B.     Defendants’ Motions to Exclude

       1.    Motion to Exclude Opinions and Testimony on Flash Point
             at Bayway Will Be Denied Without Prejudice

       Defendants move to exclude certain expert testimony on flash

point at Bayway under Rules 702, 402, and 403 as unreliable,

irrelevant, and unduly prejudicial, and for Plaintiff’s failure to

disclose relied upon theories in its infringement contentions.64

Plaintiff responds that its flash point opinions should not be

excluded because they were adequately disclosed in its infringement

contentions, Defendants’ argument is based on an unidentified and

unadopted construction of “feedstock,” and the court’s construction

requires flash point to meet the lower limit in Table 2 — not a

specific     test.65     Asserting    that   “[t]he   patent   requires    the

feedstock to comply with ISO 8217 before hydroprocessing, and

hydroprocessing begins the moment the feedstock enters the battery

limits of the hydrotreating unit, not after initial processing by

the unit,”66 Defendants reply that opinions of flash point after

Drum D-101 should be excluded as not relevant because the patents

require compliance with flash point before Drum D-101, the Riazi


       64
      Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158,
pp. 2, 6, and 17-26.
       65
      Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, pp. 2 and 18-31.
       66
      Defendants’ Reply in Support of Motion for Partial Summary
Judgment of Non-Infringement and Exclusion of Expert Testimony (ECF
158) (“Defendants’ Reply in Support of MPSJ and Motion to
Exclude”), Docket Entry No. 184, p. 14.

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Formula estimates of flash point contradict the only acceptable

measurements of flash point, and opinion testimony on the belated

Drum D-101 infringement theory should be excluded because it was

not timely disclosed.67

       For the reasons stated above in § II.B.1, the court has

addressed Defendants’ contention that Magçmâ injected and then

expanded its Drum D-101 theory following the close of discovery,

and concluded that contention is not supported by the court’s

record. As explained in § II.B.1, Defendants were placed on notice

of the relevance of Drum D-101 at least as early as September 22,

2021, when Plaintiff filed its motion to compel production of

sample SP4 from after Drum D-101.68 The relevance of Drum D-101 was

also raised in the initial report of Plaintiff’s expert, Dr. James

G. Speight, which was served on Defendants on October 7, 2021,69 and

in    Defendants’     opposition   to   Plaintiff’s    motion   to   compel.70


       67
            Id. at 14-19.
       68
      Plaintiff Magçmâ Technology LLC’s Motion to Compel, Docket
Entry No. 54, p. 3, and Exhibit A, Docket Entry No. 54-2 (seeking
“Feed to Heater” “At suction of Pump P101A, Pump P101B, or Pump
P101C”). See also Magçmâ Technology LLC’s Reply in Support of Its
Motion to Compel Physical Samples (ECF No. 54), Docket Entry
No. 59, pp. 2-3 (reiterating its request for “Feed to Heater” “At
suction of Pump P101A, Pump P101B, or Pump P101C” and identifying
that requested sample as “SP4”).
       69
      Expert Report of Dr. James G. Speight, Exhibit 12 to
Defendants’ MPSJ and Motion to Exclude, pp. 92-94 ¶¶ 276-78, Docket
Entry No.158-12, pp. 5-7.
       70
            Defendants’ Response in Opposition to Plaintiff’s Motion to
                                                         (continued...)

                                      -37-
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Moreover, Dr. Speight was questioned about Drum D-101 during his

deposition on January 5, 2022.71      The record shows that Defendants

were not only on notice of the potential relevance of Drum D-101

before fact discovery closed on November 11, 2021, and long before

expert discovery closed on June 14, 2022, but also that Defendants

successfully opposed Plaintiff’s effort to compel production of

samples taken after Drum D-101.72

     For the reasons stated below in § IV.D.1(b)(2), the court has

concluded that whether the flash point of feed to the Bayway

hydrotreater exceeds the Table 2 minimum requirement of 140N F for

HMFO is a genuine issue of material fact for trial, and that

resolution of the parties’ dispute over that issue turns on other

fact issues that cannot be resolved on summary judgment, including

for example, whether Drum D-101 affects the flash point of the

Bayway hydrotreater’s feed, and whether application of the Riazi

Formula yields a reliable estimate of the feed’s flash point.

Accordingly, the court is not persuaded that opinion testimony on

Drum D-101 should be excluded because it is not relevant.



     70
      (...continued)
Compel, Docket Entry No. 57, pp. 1, 9-10 (challenging the relevance
of sample SP4, Feed to Heater, which was located after Drum D-101).
     71
       Speight Deposition, pp. 70:10-85:24, 193:16-197:6, Exhibit
15 to Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158-
15, pp. 14-19.
     72
      Transcript of November 4, 2021, Motion Hearing, Docket Entry
No. 68, p. 23:1-12.

                                   -38-
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     The court’s practice is to rule on motions to exclude expert

testimony during the course of trial because experts frequently

modify their opinions, and at trial counsel often establish more

extensive predicates for the experts’ testimony.            Moreover, the

context in which an expert’s opinion is offered is necessary to

effectively     rule   on   issues    of    reliability   and   prejudice.

Accordingly, Defendants’ motion to exclude certain expert testimony

on flash point at Bayway will be denied without prejudice to being

reurged during trial.



     2.      Motion to Exclude Opinions and Testimony on Damages at
             the Bayway and Wood River Refineries Will Be Denied
             Without Prejudice

     Defendants move to exclude damages testimony based on non-

infringing barrels of fuel oil.73            Plaintiff    argues that the

opinions of its damage expert should not be excluded because a

damage expert is required to assume infringement.           Citing PalTalk

Holdings, Inc. v. Microsoft Corp., No. 2:06-CV-367(DF), 2009 WL

10677719, *2 (E.D. Tex. March 8, 2009), Plaintiff argues that where

apportionment is necessary due to non-infringement, the burden

shifts to the defendant to produce data sufficient to calculate

that apportionment.74 Defendants argue that Magçmâ does not contest


     73
      Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158,
pp. 2, 6, and 26-29.
     74
          Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
                                                     (continued...)

                                     -39-
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that its expert’s royalty base is artificially inflated with non-

infringing barrels or attempt to show that its expert only seeks

damages     adequate   to   compensate   for   the    infringement   alleged.

Defendants therefore argue that Magçmâ has failed to show that its

expert’s damage opinion is admissible.75             Asserting that a damage

expert cannot assume that everything produced infringes when that

assumption is contrary to the available evidence, and quoting

VirnetX, 767 F.3d at 1326, Defendants argue that “presenting

evidence to a jury concerning all barrels produced (and thus all

associated revenues) ‘cannot help but skew the damages horizon for

the jury.’”76      Defendants therefore ask the court to exclude the

current royalty base or require an adjustment to barrels actually

alleged to be infringed.77



             (a)   Additional Law

     “Upon a showing of infringement, a patentee is entitled to

‘damages adequate to compensate for the infringement, but in no

event less than a reasonable royalty for the use made of the

invention by the infringer.’”        ResQNET.com, Inc. v. Lansa, Inc.,


     74
      (...continued)
Exclude, Docket Entry No. 174, p. 32.
     75
      Defendants’ Reply in Support of MPSJ and Motion to Exclude,
Docket Entry No. 184, pp. 19-20.
     76
          Id. at 20-21.
     77
          Id. at 23.

                                    -40-
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594 F.3d 860, 868 (Fed. Cir. 2010) (per curiam) (quoting 35 U.S.C.

§ 284).        “The burden of proving damages falls on the patentee.”

Lucent Technologies, Inc. v. Gateway, Inc., 580 F.3d 1301, 1324

(Fed. Cir. 2009).          Courts may “receive expert testimony as an aid

to the determination of damages or of what royalty would be

reasonable under the circumstances.”             35 U.S.C. § 284.

       Plaintiff’s expert, W. Christopher Bakewell (“Bakewell”), has

adopted the widely accepted “hypothetical negotiation” approach to

computing a reasonable royalty, under which he has “attempt[ed] to

ascertain the royalty upon which the parties would have agreed had

they        successfully    negotiated    an    agreement   just   before    the

infringement       began.”    Lucent     Technologies,   580   F.3d   at    1324.

Bakewell opines that

       [t]he appropriate form of a reasonable royalty in this
       matter is a running royalty, based upon multiplying a
       reasonable royalty rate by the number of infringing
       barrels. . . Reasonable royalty damages are based upon an
       assessment of the incremental value associated with the
       patent rights.78

       “[A]ll running royalties have at least two variables: the

royalty base and the royalty rate.”                 Id. at 1339.       “When a

hypothetical negotiation would have yielded a running royalty, the

classic way to determine the reasonable royalty amount is to

multiple the royalty base, which represents the revenue generated



       78
      Preliminary Expert Report Regarding Damages (“Bakewell
Report”), p. 4 ¶ 12, Exhibit 20 to Defendants’ PMSJ and Motion to
Exclude, Docket Entry No. 158-20, p. 7.

                                         -41-
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by the infringement, by the royalty rate, which represents the

percentage of revenue owed to the patentee.”            Whitserve, LLC v.

Computer Packages, Inc., 694 F.3d 10, 27 (Fed. Cir. 2012), cert.

denied, 133 S. Ct. 1291 (2013).        “The royalty base for reasonable

royalty damages cannot include activities that do not constitute

patent   infringement,   as   patent    damages   are   limited   to    those

‘adequate to compensate for the infringement.’”         AstraZeneca AB v.

Apotex Corp., 782 F.3d 1324,       1343 (Fed. Cir. 2015) (quoting 35

U.S.C. § 284).      Absent information necessary to determine an

established royalty rate, a reasonable royalty is most “often

determined on the basis of a hypothetical negotiation, occurring

between the parties at the time that infringement began.”              Uniloc

USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1312 (Fed. Cir. 2011).

“A comprehensive (but unprioritized and often overlapping) list of

relevant factors for a reasonable royalty calculation appears in

Georgia-Pacific Corp. v. United States Plywood Corp., 318 F.Supp.

1116, 1120 (S.D.N.Y. 1970).”      ResQNET.com, 594 F.3d at 869.



           (b)   Application of Additional Law the Parties’ Arguments

     Magçmâ’s damage expert opines that

     the evidence shown to date demonstrates that reasonable
     royalties appropriate to compensate for the alleged
     infringement of the patents-in-suit is at least
     approximately $2.75 per barrel produced, as summarized in
     the following table:




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                        Summary of Reasonable Royalties
                           January 2020 to July 2021

                        Accused             Reasonable
                        Products            Royalty Rate        Reasonable
      Refinery          (Barrels)           (Per Barrel)        Royalties
      Bayway            16,808,000          At least $2.75      $46,222,000
      Wood River         2,954,000          At least $2.75      $ 8,124,000
      Total             19,762,000                              $54,346,00079

In pertinent part Bakewell notes that “the calculations in this

report can accommodate different volumes of infringing products.”80

Bakewell explains that the “royalty base” “is the LSFO [low sulfur

fuel oil] produced by Phillips using the accused hydrotreater

process.      The royalty base is estimated through July 2021, and it

can   be     adjusted    .   .   .   to   account   for   damages   ‘adequate   to

compensate for infringement.’”81

      Asserting that Magçmâ only identifies a small fraction of Wood

River operations that comply with CCAI, which is required for

infringement, but nevertheless offers damage opinions applying a

royalty rate to every barrel of material hydroprocessed at that

refinery, Defendants argue that “Magçmâ must apportion its damages

between infringing and non-infringing operations or otherwise have

the damage opinions excluded.”82                 In support of this argument


      79
           Id. ¶ 13.
      80
           Id. n. 8.
      81
      Id. at 67 ¶ 220 (quoting 35 U.S.C. § 284), Docket Entry
No. 158-20, p. 12.
      82
           Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158,
p. 26.

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Defendants cite VirnetX, 767 F.3d at 1326, which concerned the

general rule that a patentee seeking damages based on an infringing

product containing both patented and unpatented features must

“apportion damages only to the patented features.”              767 F.3d at

1329. VirnetX does not appear applicable to the facts of this case

because there are neither allegations nor evidence that the accused

infringing products contain both patented and unpatented features.

Defendants’ motion to exclude opinions of Plaintiff’s damage expert

rests on assertions that Plaintiff has no evidence that all of the

low sulfur HMFO produced at either the Bayway or the Wood River

refineries infringes the Asserted Patents.          But whether the low

sulfur HMFO produced at either refinery infringes the Asserted

Patents are questions of fact for trial.

     Defendants’ argument with respect to the low sulfur HMFO

produced at the Bayway refinery is based on its motion to exclude

testimony of flash point, which for the reasons stated above in

§ III.B.1, the court has denied without prejudice to being reurged

at trial.     Accordingly, Defendants’ motion to exclude expert

testimony as to damages at the Bayway refinery will also be denied

without prejudice to being reurged at trial.

     Defendants’ argument with respect to the low sulfur HMFO

produced at   the   Wood   River   refinery   is   based   on   Defendants’

contention that Plaintiff has failed to cite evidence capable of

establishing that more than a minimal amount of the low sulfur HMFO


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produced     there    infringes    by    meeting   the   ISO   8217   Table    2

requirement for CCAI.       Whether the low sulfur HMFO produced at the

Wood River refinery infringes, and if so, how much of that HMFO

infringes are genuine issues of material fact for trial on which

Plaintiff bears the burden of proof.           The court is therefore not

persuaded that the damage opinions of Plaintiff’s expert should be

excluded before trial.         See Avid Identification Systems, Inc. v.

Global ID Systems, 29 F. App’x 598, 602 (Fed. Cir. 2002) (per

curiam) (“The burden of proof on the number of infringing [items]

used or sold by [Defendants] . . . was on the plaintiff, and it was

inappropriate for the district court to shift that burden to the

defendant.”).        Accordingly, Defendants’ motion to exclude expert

testimony as to damages at the Bayway refinery will also be denied

without prejudice to being reurged at trial.



C.     Plaintiff’s Motions to Exclude and Strike

       1.    The Motion to Exclude the Opinions of Edward Sughrue Will
             Be Denied Without Prejudice to Reurging at Trial

       Plaintiff seeks to exclude the opinions of Dr. Sughrue by

arguing that they are inconsistent with the court’s construction of

the claim term HMFO and with Defendants’ invalidity contentions, he

is not qualified to opine on invalidity and noninfringement, and

his invalidity opinions are unreliable and unhelpful.83            Defendants

respond that Sughrue’s opinions should not be excluded because they



       83
      Plaintiff’s Corrected Motion to Exclude Dr. Sughrue, Docket
Entry No. 163, pp. 2, 13-25.

                                        -45-
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are   consistent     with   the      court’s    claim    construction         and   with

Defendants’ invalidity contentions, Sughrue is qualified to offer

opinions on invalidity and infringement, and Sughrue’s opinions are

reliable and helpful.84

      As stated above in § III.B.1, the court’s practice is to rule

on motions to exclude expert testimony during the course of trial

because experts frequently modify their opinions, and at trial

counsel often establish more extensive predicates for the experts’

testimony.      Moreover, the context in which an expert’s opinion is

offered    is     necessary     to    effectively       rule     on    such    issues.

Accordingly,      Plaintiff’s        motion    to     exclude    the     opinions    of

Dr. Sughrue will be denied without prejudice to being reurged

during trial.



      2.   The Motion to Strike the Opinions of Thomas Britven Will
           Be Denied as Moot Without Prejudice

      Plaintiff moves to strike all opinions in the report of

Defendant’s damages expert Thomas Britven that rely on the lay

opinions     of    Dennis     Vauk     (“Vauk”),        Phillip’s        Director    of

Hydroprocessing,      and     interviews       with   Frank     Eymard    (“Eymard”),

Phillip’s in-house counsel.85              Plaintiff argues that Britven’s

reasonable royalty opinions should be stricken because they rely on


      84
      Defendants’ Response in Opposition to Plaintiff’s Corrected
Motion to Exclude the Opinions and Testimony of Defendants’
Technical Expert Edward L. Sughrue II, Ph.D., Docket Entry No. 178,
pp. 2, and 7-23.
      85
      Plaintiff’s Motion to Strike Defendants’ Expert Britven,
Docket Entry No. 155, p. 5.

                                        -46-
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opinions of Vauk, who has not been designated as an expert witness

and whose opinions are not the type of lay witness testimony

permitted     by   Federal   Rule   of   Evidence   701,86   and   licensing

information provided by Eymard, who has not been deposed because of

Defendants’ privilege claim.87       Defendants respond that Plaintiff

has presented no compelling reason to exclude Birtven’s opinions

that rely upon licensing-related information received from Vauk

and/or Eymard.88     Because the court has been able to resolve the

other pending motions without relying on those portions of the

Britvan report that rely on either the lay opinions of Vauk or

interviews with Eymard, Plaintiff’s motion to strike will be denied

as moot without prejudice to being reurged during trial.



     3.      The Motion to Strike the Declaration of John Allen Will
             Be Denied as Moot Without Prejudice

     In the reply brief that Plaintiff has filed in support of its

motion for partial summary judgment Plaintiff argues that the

Declaration of John Allen attached to Defendant’s              Response in

Opposition to Plaintiff’s MPSJ “must be struck because it is not

based on his personal knowledge alone.        Rather it is ‘based upon .

. . the knowledge of Phillips 66.’”89 Plaintiff also argues that

     86
          Id. at 8-10.
     87
          Id. at 11-12.
     88
      Defendants’ Response in Opposition to Plaintiff’s Motion to
Strike Certain Opinions of Defendants’ Damages Expert Thomas
Britven, Docket Entry No. 171, pp. 6-7.
     89
          Plaintiff’s Reply in Support of MPSJ and Application of 35
                                                      (continued...)

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       to the extent that Mr. Allen draws technical conclusions
       from   the  proffered   facts,   his  declaration   also
       constitutes an untimely lay opinion. At a minimum, such
       undisclosed lay opinion [should] be struck under Federal
       Rule of Civil Procedure 26(a)(2)(B) and (C), and
       therefore, should be refused consideration.90

Because the court has been able to resolve the other pending

motions       without      relying    on    the    Declaration    of    Thomas   Allen,

Plaintiff’s motion to strike that declaration will be denied as

moot    without         prejudice    to    being    reurged    during    trial   should

Mr. Allen be called to testify.



                 IV.    Cross Motions for Partial Summary Judgment

       Plaintiff moves for partial summary judgment that the Bayway

DSU-1 hydrotreater’s feed and product satisfy an important element

found       in    all    asserted    patent        claims,    i.e.,    the   flashpoint

requirement of Table 2.91            Plaintiff also moves to invoke 35 U.S.C.

§ 295 to establish a presumption of infringement, thereby shifting

the burden of proving non-infringement to Defendants for both the

Bayway and Wood River Refineries.92                   Defendants move for partial

summary       judgment      of   non-infringement        for    its    accused   Bayway

refinery.93 For the reasons stated below, Plaintiff’s MPSJ that the

       89
      (...continued)
U.S.C. § 295, Docket Entry No. 192, p. 11.
       90
            Id.
       91
      Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
Entry No. 161, pp. 2, 7-9, and 21-24.
       92
            Id. at 2, 9, and 24-30.
       93
            Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 158,
                                                          (continued...)

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Bayway      DSU-1   hydrotreater’s    feed   satisfies    the   flash    point

requirement of Table 2 will be denied, Plaintiff’s MPSJ that the

Bayway      DSU-1   hydrotreater’s    product   satisfies    the   flashpoint

requirement of Table 2 will be granted, and Plaintiff’s motion to

invoke 35 U.S.C. § 295 to establish a presumption of infringement

will be denied; Defendant’s MPSJ of non-infringement for its

accused Bayway refinery will be denied.



A.     Standard of Review

       Summary judgment is authorized if the movant establishes that

there is no genuine dispute about any material fact and the movant

is entitled to judgment as a matter of law.          Fed. R. Civ. P. 56(a).

Rule 56 authorizes a court to grant “partial summary judgment” to

dispose of less than the entire case and even just portions of a

claim or defense.        See Fed. R. Civ. P. 56 Advisory Committee’s

Note, 2010 Amendments.        Disputes about material facts are genuine

if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.         Anderson v. Liberty Lobby, Inc.,

106 S. Ct. 2505, 2511 (1986).             “The party moving for summary

judgment must ‘demonstrate the absence of a genuine issue of

material fact,’ but need not negate the elements of the nonmovant’s

case.”      Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.

1994) (en banc) (per curiam) (quoting Celotex Corp. v. Catrett, 106

       93
      (...continued)
pp. 6 and 15-17.

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S. Ct. 2548, 2553 (1986)).         “If the moving party fails to meet this

initial burden, the motion must be denied, regardless of the

nonmovant’s response.”         Id.       If, however, the moving party meets

this burden, “the nonmovant must go beyond the pleadings and

designate specific facts showing that there is a genuine issue for

trial.”    Id.    Factual controversies are to be resolved in favor of

the nonmovant, “but only when there is an actual controversy, that

is, when both parties have submitted evidence of contradictory

facts.”    Id.     The court will not, “in the absence of any proof,

assume that the nonnmoving party could or would prove the necessary

facts.”    Id.     “[T]he court must draw all reasonable inferences in

favor of the nonmoving party, and it may not make credibility

determinations      or     weigh   the    evidence.”      Reeves    v.   Sanderson

Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).

     “When       parties    file   cross-motions        for    summary   judgment,

[courts] review ‘each party’s motion independently, viewing the

evidence   and     inferences      in    the    light   most   favorable   to   the

nonmoving party.’”          Cooley v. Housing Authority of the City of

Slidell, 747 F.3d 295, 298 (5th Cir. 2014) (quoting Ford Motor Co.

v. Texas Department of Transportation, 264 F.3d 493, 498 (5th Cir.

2001)).    See also Shaw Constructors v. ICF Kaiser Engineers, Inc.,

395 F.3d 533, 538-39 (5th Cir. 2004), cert. denied sub nom. PCS

Nitrogen Fertilizer, L.P. v. Shaw Constructors, Inc., 126 S. Ct.

342 (2005) (“Cross-motions must be considered separately, as each



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movant bears the burden of establishing that no genuine issue of

material fact exists and that it is entitled to judgment as a

matter of law.”).         If the dispositive issue is one on which the

moving party will bear the burden of proof at trial, the moving

party “must come forward with evidence which would ‘entitle it to

a directed verdict if the evidence went uncontroverted at trial.’”

International Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1264-65 (5th Cir. 1991), cert. denied, 112 S. Ct. 936 (1992).                 See

also Anderson, 106 S. Ct. at 2511 (“[The] standard [for granting

summary judgment] mirrors the standard for a directed verdict under

Federal Rule of Civil Procedure 50(a).”).           The nonmoving party can

then defeat the motion by countering with sufficient evidence of

its own, or by “showing that the moving party’s evidence is so

sheer that it may not persuade the reasonable fact-finder to return

a verdict in favor of the moving party.”              Id. at 1265.      If the

dispositive issue is one on which the nonmoving party will bear the

burden of proof at trial, the moving party may satisfy its burden

by    merely   pointing    out   that    the   evidence   in   the   record    is

insufficient with respect to an essential element of the nonmoving

party’s claim.       See Celotex, 106 S. Ct. at 2552-53.             The burden

then shifts to the nonmoving party, who must, by submitting or

referring to evidence, set out specific facts showing that a

genuine issue exists.         Id. at 2553.      The nonmovant may not rest

upon the pleadings, but must identify specific facts that establish

a genuine issue for trial.        Id.    See also Little, 37 F.3d at 1075.

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B.     Applicable Law

       Evaluation of a motion for summary judgment of infringement or

non-infringement is a two-step process. See Abbott Laboratories v.

Sandoz, Inc., 566 F.3d 1282, 1288 (Fed. Cir. 2009), cert. denied

sub nom. Astellas Pharma, Inc. v. Lupin Ltd., 130 S. Ct. 1052

(2010).     First, the claims are properly construed and second, the

construed terms are compared to the accused product or method. Id.

“[A] determination of noninfringement, either literal or under the

doctrine of equivalents, is a question of fact.”                    Crown Packaging

Technology, Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1312

(Fed. Cir. 2009).           To infringe a claim literally, the accused

product     must   incorporate     every    limitation        in    a   valid    claim,

exactly. Zodiac Pool Care, Inc. v. Hoffinger Industries, Inc., 206

F.3d 1408, 1415 (Fed. Cir. 2000) (“Absent any limitation of a

patent claim,       an   accused   device       cannot   be    held     to   literally

infringe the claim.”).         To infringe a claim under the doctrine of

equivalents, the accused product must incorporate every limitation

in a valid claim by a substantial equivalent.                 Id.   As with literal

infringement, there can be no infringement under the doctrine of

equivalents if one limitation of a claim is not present in the

accused device.       Id.    See also Crown Packaging, 559 F.3d at 1312

(“A finding of infringement under the doctrine of equivalents

requires     a   showing    that   the     difference     between       the     claimed

invention and the accused product was insubstantial.”).                            “[A]


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determination of noninfringement, either literal or under the

doctrine of equivalents, is a question of fact.”                   Crown Packaging,

559 F.3d at 1312.               The court may grant summary judgment of

infringement or non-infringement only if no reasonable jury could

find otherwise.          Id.



C.     Defendants’ Motion for Partial Summary Judgment

       Defendants        move     for    partial    summary      judgment   of     non-

infringement for the accused Bayway refinery.94                    Defendants argue

that        they   are     entitled      to     partial    summary      judgment     of

noninfringement for the Bayway refinery because

       [i]n its claim construction order, this Court recognized
       that claim term “‘[HMFO]’ is a residual fuel oil that is
       defined as including process residues that are ‘the
       fractions that don’t boil or vaporize even under vacuum
       conditions.’ The feedstock at Bayway, however, consists
       entirely of material that has been previously boiled and
       vaporized, meaning that [it] cannot be a residual or
       [HMFO] as required for infringing of the patents.95

Asserting that “construing HMFO as fuel with ‘fractions that don’t

boil or vaporize even under vacuum conditions’ renders infringement

impossible         at    Bayway    because      Phillips    66    hydroprocesses     a

distillate         feedstock      that    has      been    completely     boiled    or

vaporized,”96 Defendants argue that



       94
            Id.
       95
            Id. at 15.
       96
            Id. at 16.

                                           -53-
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     Magçmâ has never argued that the feedstock into the
     Bayway hydrotreater contains fractions that do no boil or
     vaporize even under vacuum conditions. Instead, Magçmâ
     argues the feed contains “process residues” by using
     creative definitions of residues not supported by its
     patents. . . But none of these proposed arguments address
     whether the feedstock contains “factions that don’t boil
     even at vacuum conditions.” . . . Accordingly, Magçmâ
     cannot raise a fact issue as to infringement of any
     asserted claim when the Court properly construes HMFO to
     include “fractions that do not boil or vaporize even
     under vacuum conditions.”97

     Plaintiff responds that “this Court rejected [Defendants’]

attempt to import a limitation from the specification to narrow the

claimed [HMFO] to only process residues that ‘do not boil or

vaporize even under vacuum conditions,’”98 and that Defendants’

“only argument is that there is no ‘fact issue as to infringement

of any asserted claim when the Court properly construes HMFO.’”99

Plaintiff argues that Defendants’ MPSJ fails because it requests an

untimely claim construction “do-over” that “hinges entirely on

their previously-rejected construction,”100 and because Magçmâ has

proffered opinions and evidence that the Bayway feed does, in fact,

include process residues.101       Plaintiff also argues that “[n]ew

constructions would likely require further discovery and expert

disclosures, resulting in further delay of trial.”102



     97
          Id. at 17.
     98
      Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, p. 8.
     99
      Id. (quoting Defendants’ MPSJ and Motion to Exclude, Docket
Entry No. 158, p. 17).
     100
           Id.
     101
           Id. at 9.
     102
           Id.

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       Defendants reply that the patents limit the invention to fuels

with fractions that don’t boil or vaporize, and that they raise

this dispute now because the court has a continuing obligation to

address claim construction as a matter of law before submitting the

case to the jury.       Defendants also reply that Plaintiff has failed

to raise a fact issue as to whether the Bayway feed has fractions

that don’t boil or vaporize even under vacuum conditions.103



       1.    Additional Construction of the Term “HMFO” is Not Needed

       As recognized in the court’s July 28, 2021, Memorandum Opinion

and Order, Plaintiff has long argued that the products being

processed by Defendants qualify as HMFO as long as they meet the

minimum physical property requirements for ISO 8217 residual marine

fuels.       Defendants have long disagreed, arguing instead that

“‘[HMFO]’ should be limited to residual marine fuels that contain

process residues,” i.e., fractions that do not boil or vaporize

even    under   vacuum   conditions.        Magçmâ,   2021   WL     3186532,   *6

(recognizing Defendants’ contention that “the dispute between the

parties is whether the claimed ‘[HMFO]’ must contain any process

residues,     because    Magçmâ   accuses   distillates      that    contain   no

process residues”).       The court heard and considered the parties’

arguments on this issue at the July 8, 2021, Markman hearing.                  On



       103
       Defendants’ Reply in Support of MPSJ and Motion to Exclude,
Docket Entry No. 184, pp. 6-13.

                                     -55-
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July 28, 2021, the court issued a Markman Order holding that “HMFO”

means “[a] petroleum product fuel compliant with the ISO 8217:2017

standards for bulk properties of residual marine fuels except for

the   concentration        levels    of   the    Environmental       Contaminates.”

Magçmâ,       2021   WL   3186532,   *7    and     *16.     The   court’s   holding

necessarily rejected Defendants’ alternative constructions of “[a]

fuel oil containing a majority of process residue that does not

boil or vaporize even at vacuum conditions,” or “[a] marine fuel

oil containing a substantial amount of process residue that has not

boiled or vaporized even at vacuum conditions.”                   Id. at 5.

      Acknowledging that the court’s construction of “HMFO” is not

tied to unboiled fractions, and asserting that the court may

revisit claim construction during summary judgment,104 Defendants

argue that the court “apparently agrees that the term [‘HMFO’] was

limited to fuels with fractions that do not boil or vaporize.”105

In support of this argument Defendants cite the following language

from the court’s Markman order:

      While the specifications do use “[HMFO]” interchangeably
      with residual-based fuel oil, and residual based fuel oil
      is defined in the ’884 and ’287 Patents as a mixture of
      process residues, which are defined in turn as “the
      fractions that don’t boil or vaporize even under vacuum
      conditions,” Defendants fail to cite any language in the
      specifications that requires “heavy marine fuel oil” to
      contain either a “majority” or a “substantial amount” of


      104
       Defendants’         MPSJ   and     Motion    to    Exclude,    Docket   Entry
No. 158, p. 16.
      105
            Id. at 15.

                                          -56-
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     process residues that do not boil or vaporize even at
     vacuum conditions.106

Plaintiff responds that “[t]he single sentence in the Order on

which Phillips has based its obstinate refusal to apply the Court’s

adopted      claim   construction   .   .    .    is   nothing    more      than   an

acknowledgment       of   the   background       description     in   the    patent

specifications.”107        Asserting    that      they   are   “not    seeking      a

‘reversal of the prior adopted construction,’”108 and acknowledging

that “[t]he Court adopted a definition of ‘HMFO’ that is expressly

stated in the patents and technically correct,”109 Defendants reply:

     The construction is not wrong, but is also not useful
     here. . . [T]he definition does not address the dispute
     between the parties as to the scope of the invention.
     Specifically, the construction does not address one way
     or the other whether distillate materials that have
     completely boiled and vaporized can be considered a heavy
     marine fuel oil. The court has a continuing obligation
     to address disputes over the meaning of claim terms as a
     matter of law.110

     As acknowledged by the court’s Markman order, Defendants’

proposed constructions for the term “HMFO” have changed over time.



     106
           Id. (quoting Magçmâ, 2021 WL 3186532, at *8).
     107
       Plaintiff’s Opposition to Defendants’ MPSJ and Motion to
Exclude, Docket Entry No. 174, p. 14.
     108
       Defendants’ Reply in Support of MPSJ and Motion to Exclude,
Docket Entry No. 184, p. 7 (quoting Plaintiff’s Opposition to
Defendants’ MPSJ and Motion to Exclude, Docket Entry No. 174,
p. 12).
     109
           Id.
     110
           Id.

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Defendants’   initially    argued    that   the   term   “HMFO”    should   be

construed to mean “[a] fuel oil containing a majority of process

residue that does not boil or vaporize even at vacuum conditions,”

and later argued that “HMFO” should be construed to mean “[a]

marine fuel oil containing a substantial amount of process residue

that has not boiled or vaporized even at vacuum conditions.”

Magçmâ, 2021 WL 3186532, *5.        The Markman Order also acknowledged

Defendants’ contention that “the dispute between the parties is

whether the claimed ‘[HMFO]’ must contain any process residues,

because   Magçmâ   accuses   distillates      that   contain      no   process

residues.”    Id. at *6.     After carefully considering all of the

parties’ written and oral arguments, and the applicable law, the

court rejected Defendants’ arguments that “HMFO” be construed in

terms of process residues that do not boil or vaporize even under

vacuum conditions in favor of Plaintiff’s argument that “HMFO” be

construed to mean “[a] petroleum product fuel compliant with the

ISO 8217:2017 standards for bulk properties of residual marine

fuels except for the concentration levels of the Environmental

Contaminates.”     Magçmâ, 2021 WL 3186532, at *7 and *16.

     In   pertinent   part   the    court   explained    that     Defendants’

arguments were not persuasive because the patent claims

     consistently define[] “[HMFO]” as ISO 8217 residual
     marine fuels, i.e., fuels that are defined in ISO 8217
     Table 2, titled “Residual marine fuels,” as opposed to
     Table 1, titled “Distillate marine fuels,” and because
     ISO Table 2 does not require “Residual marine fuels” to
     contain either a “majority” or a “substantial” amount of

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     process residues.   To the contrary, Table 2 does not
     define residual marine fuels by their components but,
     instead, by objective physical characteristics . .

Id. at *7 (emphasis added).         Now, months after the court issued the

Markman Order, Defendants argue the court’s statement that “‘Table

2 does not define residual marine fuels by their components,’

misses the mark because the real issue at hand is whether the

patents      (not   Table   2)    define    residual   marine     fuels   by   its

components.”111        But missing from Defendants’ arguments, either

during the claim construction phase of this litigation or now, is

a cite to any claim language that requires HMFO to contain process

residue      that   does    not   boil     or   vaporize   even   under   vacuum

conditions. Moreover, for the reasons stated in the Markman Order,

the court declined to construe “HMFO” in terms of components as

argued by Defendants, and, instead, construed “HMFO” in terms of

physical properties as defined by ISO 8217:2017 Table 2, as argued

by Plaintiff.       Magçmâ, 2021 WL 3186532, at *5-*11.

     The court’s statement that

     the specifications do use “[HMFO]” interchangeably with
     residual-based fuel oil, and residual based fuel oil is
     defined in the ’884 and ’287 Patents as a mixture of
     process residues, which are defined in turn as “the
     fractions that don’t boil or vaporize even under vacuum
     conditions,”

id. at *8, merely recites a description in the specifications.

That recitation is followed by the court’s acknowledgment that



     111
           Id. at 9.

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      Defendants recognize,

      Magçmâ expressly defines both the feed and product
      “[HMFO]” of its patented invention as “a residual
      petroleum product”:

      Feedstock [HMFO] is a residual petroleum product
      compliant with the ISO 8217 standards for the physical
      properties or characteristics of a merchantable HMFO . .

      Product HMFO is a residual petroleum product based fuel
      compliant with the ISO 8217 standards for the properties
      or characteristics of a merchantable HMFO . . .

Id. at 9.       The court then stated that

      [t]he language cited by Defendants shows that the
      defining characteristic of the term “[HMFO]” as used in
      the patents-in-suit is a residual petroleum product
      compliant with the ISO 8217 standards for the physical
      properties or characteristics of a merchantable HMFO.
      The ISO 8217 standards for residual marine fuels are set
      forth in ISO 8217 Table 2, which do not include the
      requirement urged by Defendants, i.e., that residual
      marine fuels contain either a majority or a substantial
      amount of process residues that do not boil or vaporize
      even at vacuum conditions. Accordingly, the court is not
      persuaded that the patents’ specifications support the
      Defendants’ proposed construction.

Id.    See also id. n. 39 (considering and rejecting Defendants’

“process residues” argument based on standards other than ISO

8217).        Because   Defendants     acknowledge   that   “[t]he   [court’s]

construction [of HMFO] is not wrong,”112 and because Defendants fail

to cite any claim language that requires HMFO to contain process

residue that does not boil or vaporize even at vacuum conditions,

the   court     is   not   persuaded    that   the   term   “HMFO”   needs   any

additional construction.


      112
            Id. at 7.

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       2.    Defendant Is Not Entitled to Partial Summary Judgment of
             No Infringement for the Bayway Refinery

       Asserting that “Magçmâ has never argued that the feedstock

into the Bayway hydrotreater contains fractions that do not boil or

vaporize even under vacuum conditions,”113 Defendants argue that

“Magçmâ cannot raise a fact issue as to infringement of any

asserted claim when the Court properly construes HMFO to include

‘fractions      that   do   not   boil   or    vaporize      even   under    vacuum

conditions.’”114 For the reasons explained in the preceding section

of    this    Memorandum    Opinion      and     Order,     the   court   declines

Defendants’ invitation to revise the construction of HMFO to

include fractions that do not boil or vaporize even under vacuum

conditions.       Defendants are therefore not entitled to summary

judgment based on the assertion that “Magçmâ has never argued that

the feedstock into the Bayway hydrotreater contains fractions that

do not boil or vaporize even under vacuum conditions.”115                   Whether

the feedstock into the Bayway hydrotreater is an HMFO as construed

by the court is a fact issue for trial.                   Accordingly, the court

concludes that Defendants are not entitled to partial summary

judgment of non-infringement for the accused Bayway refinery.


       113
       Defendants’       MPSJ     and   Motion    to   Exclude,     Docket   Entry
No. 158, p. 17.
       114
       Id.   See also Defendants’ Reply in Support of MPSJ and
Motion to Exclude, Docket Entry No. 184, p. 11 (“Magçmâ fails to
raise an issue of fact as to whether the Bayway fuel has fractions
that don’t boil or vaporize even under vacuum conditions.”).
       115
       Defendants’       MPSJ     and   Motion    to   Exclude,     Docket   Entry
No. 158, p. 17.

                                        -61-
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D.     Plaintiff’s Motion for Partial Summary Judgment

       Plaintiff seeks partial summary judgment that the Bayway DSU-1

hydrotreater’s feed and product satisfy an important element found

in all the asserted patents, i.e., that they meet all sixteen of

the physical properties for HMFO established by ISO 8217 Table 2.

Plaintiff also seeks an order shifting the burden of proving non-

infringement to Defendants under 35 U.S.C. § 295.

       Defendants respond that Plaintiff is not entitled to partial

summary judgment that the Bayway feed and product infringe because

they have raised genuine disputes of material fact as to whether

the Bayway material contains process residues — a requirement that

Defendants argue is needed to infringe the Asserted Claims.116

Alternatively, Defendants respond that they have raised a fact

dispute as to the flash point of the Bayway feed through flash

point measurements, testimony, and expert opinions,117 but do not

dispute that the flash point of the Bayway product meets the

requirements       of   HMFO   under   the    court’s   claim   construction.

Defendants ask the court to deny Plaintiff’s request to presume

infringement because 35 U.S.C. § 295 does not apply to the facts of

this case.118



       116
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, p. 6.
       117
             Id.
       118
             Id.

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     1.          The Bayway Hydrotreater’s Feed and Product

     Stating that “[e]very asserted claim of Magçmâ’s patents

requires     both     a   feed   and   product   that   constitutes   a   [HMFO]

compliant with ISO 8217 Table 2,”119 and that “Table 2 sets forth

requirements for 16 physical properties that must be met for a

material to be compliant,”120 Plaintiff argues that Defendants

     now concede[] that the Bayway product complies with each
     of those Table 2 requirements. Yet Phillips will not
     agree that the Bayway Product satisfies this element of
     the asserted patents, based solely on its continued
     reliance upon a claim construction that it proposed and
     lost.   Because this only remaining dispute must be
     rejected as contrary to the construction adopted by the
     Court, partial summary judgment that the Bayway Product
     satisfies this element is appropriate and would
     significantly streamline the issues for trial.121

Plaintiff argues that

     [r]elatedly, Phillips also now concedes that the Bayway
     Feed satisfies each of the Table 2 requirements, except
     one: flashpoint. Magçmâ’s technical expert uses a well-
     established industry standard for estimating flashpoints
     (the Riazi Formula).      Those calculations show the
     flashpoint of the Bayway Feed complies with Table 2.

          Magçmâ relies on the Riazi Formula because Phillips
     refused to produce physical samples representative of the
     complete hydrocarbon stream that is hydroprocessed.
     Instead, Phillips produced representative physical
     samples taken upstream.      Phillips unrepresentative,
     upstream samples excludes hydrocarbons that form part of
     the feed that is hydroprocessed and includes volatile
     hydrocarbons that are removed prior to hydroprocessing by
     the “vapor disengaging drum,” D-101.         Nonetheless,


     119
       Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
Entry No. 161, p. 7.
     120
           Id.
     121
           Id.

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     Phillips purposefully chose this upstream sample
     location, knowing the volatile hydrocarbons lower the
     flashpoint of a sample. Magçmâ filed a motion to compel
     representative samples, which was denied based — at least
     in part — on Phillips assurances that the data and
     information that it produced would be sufficient, thus
     rendering the requested samples superfluous.

                                   . . .

          Magçmâ maintains that the Riazi calculations are
     sufficient to prove the Bayway Feed satisfies the
     flashpoint requirement of Table 2, and thus warrants
     summary judgment as to the disputed claim term. . .
     Defendants have no evidence (estimations or actual D93
     tests) establishing the flashpoint of the feed, apart
     from irrelevant testing conducted on unrepresentative
     upstream samples. Consequently, summary judgment as to
     the Bayway feed should also be granted.122

Plaintiff argues that it is therefore entitled to partial summary

judgment that the Bayway Hydrotreater’s feed and product satisfy

all the requirements of Table 2.123


              (a)   Evidence that Neither the Feed Nor the Product of
                    Defendants’ Hydrotreaters Contain Process Residues
                    or Factions that Do Not Boil or Vaporize Even Under
                    Vacuum Conditions Does Not Create a Genuine Issue
                    of Material Fact for Trial

     Asserting that “Phillips 66 boils and vaporizes its entire

feedstock before entering the Bayway hydrotreater,”124 Defendants

argue that Plaintiff cannot establish infringement over operations

at the . . . Bayway refinery . . . [because] the patent claims as


     122
           Id. at 7-9.
     123
       Id. at 21-24. See also Plaintiff’s Reply in Support of MPSJ
and Application of 35 U.S.C. § 295, Docket Entry No. 192, pp. 6-10.
     124
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, p. 9.

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properly construed as a matter of law are limited to fuels with

[process residues, i.e.,] ‘fractions that do not boil or vaporize

even under vacuum conditions.’”125            Defendants argue that because

“Bayway hydroprocesses a distillate fuel that has been completely

boiled and vaporized, [] it cannot infringe as a matter of law.”126

     For the reasons explained above in §§ II and IV.C.1, the court

has declined Defendants’ invitation to revise the construction of

HMFO to include process residues or fractions that do not boil or

vaporize      even   under   vacuum    conditions,       and    for   the   reasons

explained      above    in   §   IV.C.2   the    court    has    concluded       that

Defendants’ MPSJ of noninfringement should be denied on that basis.

Because the court has construed HMFO to mean “[a] petroleum product

fuel compliant with the ISO 8217:2017 standards for bulk properties

of residual marine fuels except for the concentration levels of the

Environmental Contaminates,” Magçmâ, 2021 WL 3186532, at *7 and

*16, and because under that construction Plaintiff does not need to

establish that the Bayway hydrotreater’s feed or product include

process residues or fractions that do not boil or vaporize even

under      vacuum    conditions,      evidence    that     Defendants       do    not

hydroprocess a fuel with process residues or fractions that do not

boil or vaporized even under vacuum conditions, does not create a

genuine dispute of material fact for trial as to infringement.



     125
           Id. at 10.
     126
           Id. at 10-11.

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             (b)    Flash Point Requirement

                    (1)    Plaintiff Is Entitled to Partial Summary
                           Judgment   that  the  Bayway   Hydrotreater’s
                           Product is a Table 2 Compliant HMFO

     Asserting      that    Defendants’     Bayway   product   is    a   Table   2

compliant HMFO, Plaintiff argues that it is entitled to summary

judgment that the Bayway product satisfies the Table 2 flash point

requirement.127 Defendants do not dispute that the Bayway product

meets the Table 2 requirements for flash point.128                  Accordingly,

Plaintiff is entitled to partial summary judgment that the Bayway

hydrotreater’s product is a Table 2 compliant HMFO.



                    (2)    Whether the Bayway Hydrotreater’s Feed is a
                           Table 2 Compliant HMFO is a Genuine Dispute of
                           Material Fact for Trial

     Asserting that Defendants do not dispute that the Riazi

Formula used by Plaintiff’s expert, Dr. Speight, to calculate the

flash point for the Bayway feed show that the feed flash point is

greater than 140N F, and that Defendants’ expert, Dr. Sughrue,

agrees     that    the    Riazi   Formula    correctly   estimates       the   D93


     127
       Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
Entry No. 161, pp. 21-22.
     128
       See Stipulation Regarding ISO 8217 Characteristics, Docket
Entry No. 125, pp. 1-2 (“Defendants [] stipulate that they will
not dispute the allegations of infringement for the patent claims
identified in plaintiff’s Final Infringement Contentions as related
to ISO 8217 based on the following: . . . 4. Meeting the limits of
the characteristics of flash point and sulfur as required by ISO
8217:2017 for residual marine fuels (Table 2) for the product of
the DSU-1 hydrotreater at the Bayway refinery[.]”).

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flashpoint results of the Bayway product,129 Plaintiff argues that

the Riazi Formula provides an appropriate estimation of the flash

point for the Bayway feed.130      Plaintiff argues that Defendants’

contention that the Riazi Formula does not accurately estimate the

flash point for the Bayway feed is wrong

     because Dr. Sughrue relies on an incorrect assumption
     that the relevant point for determining the flashpoint of
     the feed is upstream of D-101, he is able to ignore the
     fact that D-101 removes the vapors that, according to
     him, confound the Riazi calculations.131

Plaintiff argues that

     Dr. Sughre relies on D93 testing of the flashpoint of
     Upstream   Samples   collected   before   []  the   vapor
     disengaging drum (D-101). [] The Upstream Samples are
     missing the recycle stream, which has a flashpoint
     greater than 210N F. [] Importantly, the Upstream Samples
     necessarily still include the volatile hydrocarbons that
     D-101   removes    (disengages)   as   vapor   prior   to
     hydropocessing in the reactor. [] In short, the Upstream
     Samples are measuring the wrong material: D-101 and the
     addition of the recycle stream both impact flashpoint.
     The proper point to measure and/or calculate flashpoint
     is once the hydrocarbon stream that is hydroprocessed is
     completely composed, and before the addition of the
     hydrogen activating gas, which directly precedes
     hydroprocessing in the reactors.      It is important to
     recognize that flashpoint is not a linearly calculated
     property, [] such that it could be established through
     reliance on the upstream samples.      One cannot merely
     “average” the flashpoints of consistent components to
     estimate the flashpoint of the combination. It isn’t
     that simple. Hence the need for formulas such as the
     Riazi Formula, which is far more sophisticated, to


     129
       Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
Entry No. 161, p. 22.
     130
           Id. at 23.
     131
           Id.

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     estimate flashpoint.    Because Dr. Sughrue’s Upstream
     Samples are not representative of — of indicative of —
     the flashpoint of the feed that is hydroprocessed insofar
     as it excludes the recycle portion of the feed and
     includes hydrocarbons that are removed from the feed
     prior to hydroprocessing, [] the flashpoint of these
     Upstream Samples do not create a genuine issue of
     material fact. Consequently, partial summary judgment
     that the Bayway feed meets this key element is proper.132

     Asserting that they have produced hundreds of flash point

measurements falling below the required minimum, Defendants argue

that Plaintiff’s motion for partial summary judgment regarding the

feed to the Bayway hydrotreater should be denied.133            Defendants

argue that Plaintiff’s reliance on expert opinions that Drum D-101

removes light hydrocarbons and raises the flash point of the feed

cannot meet the burden for summary judgment because “(1) the effect

of drum D-101 on the feedstock is irrelevant to the issue of

infringement and (2) competing expert and factual testimony raises

a fact issue as to whether drum D-101 affects the flash point.”134

     Citing inter alia the opinions of its expert, Dr. Speight,

Plaintiff has presented evidence from which a reasonable jury could

conclude that the flash point of feed to the Bayway hydrotreater

exceeds the Table 2 minimum requirement of 140N F for HMFO.135


     132
       Id. at 23-24. See also Plaintiff’s Reply in Support of MPSJ
and Application of 35 U.S.C. § 295, Docket Entry No. 192, pp. 11-
18.
     133
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, p. 16.
     134
           Id.
     135
           Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
                                                        (continued...)

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Citing      inter   alia    the   opinions    of   its   expert,      Dr.   Sughrue,

Defendants have presented evidence from which a reasonable jury

could reach a contrary conclusion.136              Resolution of this dispute

turns on numerous other fact questions, including for example,

whether      Drum   D-101    affects   the     flash     point   of    the    Bayway

hydrotreater’s feed, and whether application of the Riazi Formula

yields a reliable estimate of the feed’s flash point.                   These fact

issues cannot be resolved on summary judgment and must, instead, be

resolved by a jury at trial.



     2.       Plaintiff’s Request to Shift the Burden of Proof to
              Defendants under 35 U.S.C. § 295 Will Be Denied

     Asserting a substantial likelihood exists that Defendants’

infringe the patented processes, and that it made a reasonable

effort to determine the processes actually used but was unable to

do so, Plaintiff argues that it is entitled to a presumption of

infringement under 35 U.S.C. § 295, thereby shifting the burden of

proving non-infringement to Defendants for both the Bayway and Wood

River Refineries.137         Plaintiff argues that its technical expert


     135
       (...continued)
Entry No. 161, pp. 22-24; Plaintiff’s Reply in Support of MPSJ and
Application of 35 U.S.C. § 295, Docket Entry No. 192, pp. 11-18
(and exhibits cited therein).
     136
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, pp. 16-23 (and exhibits
cited therein).
     137
           Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
                                                        (continued...)

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relies on the Riazi Formula for estimating flashpoints “because

[Defendants] refused to produce physical samples representative of

the   complete      hydrocarbon   stream   that   is   hydroprocessed.”138

Plaintiff argues that Defendants

      produced   unrepresentative    physical   samples   taken
      upstream.   [Defendants’]   unrepresentative,    upstream
      samples exclude[] hydrocarbons that form part of the feed
      that   is   hydroprocessed    and    include[]   volatile
      hydrocarbons that are removed prior to hydroprocessing by
      the “vapor disengaging drum,” D-101.         Nonetheless,
      [Defendants] purposefully chose this upstream sample
      location, knowing the volatile hydrocarbons lower the
      flashpoint of a sample. Magçmâ filed a motion to compel
      representative sample, which was denied based — at least
      in part — on [Defendants’] assurances that the data and
      information that it produced would be sufficient, thus
      rendering the requested samples superfluous.

            Yet [Defendants’] technical expert now opines “ISO
      8217 does not allow for the use of Riazi or other
      estimations of flashpoint,” asserting that the only way
      to comply with Table 2 is through a D93 flashpoint test
      of a physical sample. [Defendants] manufactured a “catch-
      66”:    [Defendants]   withheld  representative   sample,
      providing only data from which flashpoint of the
      representative stream could be measured indirectly using
      calculations and models; but now argue[] that such
      indirect calculations and models are insufficient,
      testing of physical samples is required. [Defendants]
      effectively seek[] to force Magçmâ to rely on its
      unrepresentative, upstream samples that include low
      volatile hydrocarbons. In this manner [Defendants] use[]
      [their] alleged inability to obtain the representative
      samples as both a sword and a shield in an effort to
      avoid infringement.139



      137
       (...continued)
Entry No. 161, pp. 8-9, and 24-30.
      138
            Id. at 7.
      139
            Id. at 7-8.

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Plaintiff argues that

     the Riazi calculations are sufficient to prove the Bayway
     Feed satisfies the flashpoint requirement of Table 2, and
     thus warrants summary judgment as to the disputed claim
     term. [Defendants’] contrary position that only actual
     sample tests are sufficient, if accepted, mandates
     application of [§] 295.140

Plaintiff argues that

     [i]f the Court applies [§] 295 to find a presumption of
     infringement, Defendants have no evidence (estimations or
     actual D93 tests) establishing the flashpoint of the
     feed, apart from irrelevant testing conduced on
     unrepresentative upstream samples. Consequently, partial
     summary judgment as to the Bayway feed should also be
     granted.141

Plaintiff asks the court to find that

     [§] 295 is applicable not only for purposes of this
     motion for partial summary judgment, but also at trial,
     for both the Bayway and Wood River Refineries. Magçmâ
     respectfully requests that the Court enter an order and
     instruct the jury consistent with the presumption and
     burden shifting provided under [§] 295.142

     Defendants respond that Plaintiff cannot shift the burden to

prove infringement under 35 U.S.C. § 295 because they have provided

extensive discovery of their accused processes.143


     140
           Id. at 9.
     141
           Id.
     142
           Id.
     143
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, pp. 24-30. See also id. at
24 (Arguing in addition that § 295 applies only to foreign
manufacturers that avoid United States discovery, which does not
apply here. Because the court concludes that Plaintiff has failed
to show that it is unable to determine the process that Defendants
                                                    (continued...)

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     In reply Plaintiff argues that “the court can apply [§] 295’s

presumption to a discrete issue, such as the elements of the

asserted claims requiring a flashpoint of greater than 140N F,”144

and that

     Phillips has outright refused to provide samples that are
     clearly relevant to this issue that were specifically
     requested by Magçmâ, and no amount of discovery on other
     aspects of the process can rectify this lack of
     cooperation. The court should therefore use the “potent
     weapon” provided by [§] 295 and shift the burden of proof
     as to any asserted claim requiring flashpoint of greater
     than 140N F.145


                 (a)    Applicable Law

     “The patentee bears the burden of proving infringement by a

preponderance of the evidence.”                  SRI International v. Matsushita

Electric         Corp.,         775   F.2d     1107,    1123     (Fed.     Cir.     1985).

Nevertheless, the law makes exceptions.                          In actions alleging

infringement           of   a    process     claim   under   §   271(g),    there    is   a

rebuttable presumption that the product was made from the patented

process “if the court finds — (1) that a substantial likelihood

exists that the product was made by the patented process, and

(2) that the plaintiff has made a reasonable effort to determine



     143
       (...continued)
actually use to produce the accused low sulfur HMFO, the court need
not reach Defendants’ alternative argument.).
     144
       Plaintiff’s Reply in Support of MPSJ and Application of 35
U.S.C. § 295, Docket Entry No. 192, p. 22.
     145
           Id.

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the process actually used in the production of the product and was

unable to so determine.”     35 U.S.C. § 295.     If both conditions are

met, “the product shall be presumed to have been so made, and the

burden of establishing that the product was not made by the process

shall be on the party asserting that it was not so made.”           Id.

     [T]he burden for establishing a substantial likelihood of
     infringement has been described as “less than . . .
     proving successfully at a trial by a fair preponderance
     of the evidence that a product in question was in fact
     made by the patented process but would be more than a
     slight possibility that the product was so made.”

United Therapeutics Corp. v. Liquidia Technologies, Inc., Civil

Action No.   20-755-RGA, 2022 WL 850687, at *1 (D. Del. Mar. 22,

2022) (quoting LG Display Co. v. AU Optronics Corp., 709 F. Supp.

2d 311, 335 (D. Del. 2010)).       In other words, the patentee “need

only present evidence that would support a reasonable conclusion

that the [accused] product was made by the patented process.”           Id.

(quoting LG Display, 709 F. Supp. 2d at 335).

     In assessing the second requirement, “courts examine the
     patentee’s discovery efforts and consider whether the
     patentee followed all of the avenues of discovery likely
     to uncover the defendant’s process, including written
     discovery requests, facility inspections, first-hand
     observation of the process, independent testing of
     process samples, the use of experts, and depositions of
     the defendant’s officials.”

Id. (quoting LG Display, 709 F. Supp. 2d at 335).         This assessment

focuses on whether Plaintiff has information to determine the

process used, not whether Plaintiff can prove infringement from

that information.    Id. at *3.


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               (b)    Application of Law to the Undisputed Facts

      Because Plaintiff neither argues nor shows that it is unable

to determine the actual processes used by Defendants to produce low

sulfur HMFO at the Bayway and Wood River refineries, the court

declines Plaintiff’s request to apply the § 295 presumption to its

infringement claims.           As detailed in Defendants’ response to

Plaintiff’s request for application of the § 295 presumption,146

Plaintiff has received voluminous discovery regarding Defendants’

hydrotreating         processes     at    both   the   Bayway   and   Wood   River

refineries.          Moreover, Plaintiff has used the evidence it has

received in discovery to argue that it is entitled to summary

judgment      of     infringement    at    the   Bayway   refinery    because   the

evidence shows that the flash point of the Bayway feed exceeds

140N F.147     Neither Plaintiff’s assertion that Defendants failed to

produce samples from Plaintiff’s preferred sampling location and

successfully opposed Plaintiff’s motion to compel the production of

such samples, nor Plaintiff’s assertion that “the court can apply

[§] 295’s presumption to a discrete issue, such as the elements of

the asserted claims requiring a flashpoint of greater than 140N

F,”148 supports a finding that Defendants have failed to provide


      146
       Defendants’ Response to Plaintiff’s MPSJ and Application of
35 U.S.C. § 295, Docket Entry No. 176, pp. 26-27.
      147
       Plaintiff’s MPSJ and Application of 35 U.S.C. § 295, Docket
Entry No. 161, pp. 13-24.
      148
            Plaintiff’s Reply in Support of MPSJ and Application of 35
                                                        (continued...)

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sufficient information for Plaintiff to determine the process

actually used in the production of low sulfur HMFO as required by

35 U.S.C. § 295.         Plaintiff’s arguments are, instead, focused on

whether Plaintiff can prove infringement, not whether Defendants

have provided enough information for Plaintiff to determine the

processes at issue. See United Therapeutics, 2022 WL 850687, at *3.

     The     voluminous       documentation        produced     by   Defendants   is

sufficient       for   Plaintiff    to    reasonably      determine    the   process

actually used by Defendants to produce low sulfur HMFO at the

Bayway     and    Wood   River     refineries.          See   Nutrinova   Nutrition

Specialties       &    Food   Ingredients        GmbH   v.    International    Trade

Commission, 224 F.3d 1356, 1360 (Fed. Cir. 2000) (declining to

apply the § 295 presumption where “a reasonable plaintiff would be

able to determine the process used”).               The extensive documentation

that Defendants have provided to Plaintiff stands in stark contrast

to the extremely limited documentation received by the patentees in

cases that have applied the § 295 presumption. See, e.g., Creative

Compounds, LLC v. Starmark Laboratories, 651 F.3d 1303, 1314–15

(Fed. Cir. 2011) (patentee received no documentation regarding the

process      performed        by    the     foreign       manufacturer);      Dasso

International, Inc. v. MOSO North America, Inc., Civil Action

Nos. 17-1574-RGA and 19-564-RGA, 2021 WL 4427168, at *6 (D. Del.



     148
       (...continued)
U.S.C. § 295, Docket Entry No. 192, p. 22.

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September    27,   2021)(same);     Syngenta       Crop      Protection,      LLC   v.

Willowood,    LLC,   No.    1:15-CV-274,        2017   WL    1133378,    at   *8-*11

(M.D.N.C. March 24, 2017)(patentee received some information about

the manufacturing process, but did not receive any manufacturing or

batch records to confirm the foreign supplier’s testimony), aff’d

in part, vacated in part, rev’d in part on other grounds, 944 F.3d

1344 (Fed. Cir. 2019), cert. denied, 141 S. Ct. 236 (2020).

Accordingly, the court declines Plaintiff’s request to apply the

§ 295 presumption.



                                   V.    Order

     For the reasons stated above in § II, Defendants’ Request for

Leave to Supplement its Response to Magçmâ’s Motion for Partial

Summary Judgment of Infringement, Docket Entry No. 198, is DENIED.

     For the reasons stated above in § III.B.1, Defendants’ motion

to exclude the opinions and testimony of flash point at the Bayway

refinery is DENIED WITHOUT PREJUDICE. For the reasons stated above

in § III.B.2, Defendants’ motion to exclude the opinions and

testimony of damages at the Wood River the Bayway refineries is

DENIED WITHOUT PREJUDICE.        For the reasons stated above in § IV.C,

Defendants’    motion      for   partial       summary      judgment    is    DENIED.

Accordingly, Defendants’ Motion for Partial Summary Judgment of

Noninfringement and Exclusion of Expert Testimony, Docket Entry

No. 158, is DENIED.

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     For the reasons stated above in § III.C.1, Magçmâ Technology

LLC’s Corrected Motion to Exclude the Opinions and Testimony of

Defendants’ Expert Edward L. Sughrue II, Docket Entry No. 163, is

DENIED.

     For the reasons stated above in § III.C.2, Magçmâ’s Motion to

Strike    Certain   Opinions   of   Defendants’   Damages   Expert   Thomas

Britven, Docket Entry No. 155, is DENIED as MOOT without prejudice

to being reurged at trial.

     For the reasons stated above in § III.C.3, Plaintiff’s request

to strike the Declaration of Thomas Allen made in Magçmâ’s Reply

Brief in Support of Its Motion for Partial Summary Judgment of

Infringement and Application of 35 U.S.C. § 295 to Establish a

Presumption of Infringement, Docket Entry No. 192, is DENIED as

MOOT without prejudice to being reurged at trial.

         For the reasons stated above in § IV.D.1(b)(1), the court

concludes that Plaintiff is entitled to partial summary judgment

that the Bayway Hydrotreater’s product is a Table 2 Compliant HMFO,

but that for the reasons stated above in § IV.D.1.(b)(2), whether

the Bayway Hydrotreater’s feed is a Table 2 Compliant HMFO is a

genuine dispute of material fact for trial. For the reasons stated

above in § IV.D.2, Plaintiff’s motion for application of 35 U.S.C.

§ 295 is DENIED.     Accordingly, Magçmâ’s Motion for Partial Summary

Judgment of Infringement and Application of 35 U.S.C. § 295 to




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Establish a Presumption of Infringement, Docket Entry No. 161, is

GRANTED in PART and DENIED in PART.

        The joint pretrial order with all required attachments will be

filed    by    Friday,    March    3,   2023,    and   Docket   Call   will   held   on

Friday, March 9,         2023,    at 2:00 p.m.    in Courtroom 9-B,       9th Floor,

United States Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

        No    motions    for   limine   or   other     pretrial    motions    will   be

allowed, including motions for reconsideration.                   The parties submit

a pretrial memorandum not to exceed 25 total pages in which they

may include evidentiary issues likely to arise at trial.

        SIGNED at Houston, Texas, on this 19th day of January, 2023.




                                                      SIM LAKE
                                         SENIOR UNITED STATES DISTRICT JUDGE




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